Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 1 of 86




                             FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


         GLORIA JOHNSON; JOHN LOGAN,                     Nos. 20-35752
         individuals, on behalf of themselves                 20-35881
         and all others similarly situated,
                           Plaintiffs-Appellees,             D.C. No.
                                                          1:18-cv-01823-
                             v.                                 CL

         CITY OF GRANTS PASS,
                      Defendant-Appellant.                   OPINION


                Appeal from the United States District Court
                         for the District of Oregon
                Mark D. Clarke, Magistrate Judge, Presiding

                  Argued and Submitted December 6, 2021
                         San Francisco, California

                           Filed September 28, 2022

          Before: Ronald M. Gould and Daniel P. Collins, Circuit
               Judges, and Roslyn O. Silver,* District Judge.

                            Opinion by Judge Silver;
                            Dissent by Judge Collins

            *
              The Honorable Roslyn O. Silver, United States District Judge for
        the District of Arizona, sitting by designation.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 2 of 86




        2             JOHNSON V. CITY OF GRANTS PASS

                                  SUMMARY**


                                   Civil Rights

            The panel affirmed in part and vacated in part the district
        court’s summary judgment and its permanent injunction in
        favor of plaintiffs; affirmed certification pursuant to Fed. R.
        Civ. P. 23(b)(2), of a class of “involuntary homeless”
        persons; and remanded in an action challenging municipal
        ordinances which, among other things, preclude homeless
        persons from using a blanket, a pillow, or cardboard box for
        protection from the elements while sleeping within the
        City’s limits.

            The five ordinances, described as an “anti-sleeping”
        ordinance, two “anti-camping” ordinances, a “park
        exclusion” ordinance, and a “park exclusion appeals”
        ordinance, result in civil fines up to several hundred dollars
        per violation. Persons found to violate ordinances multiple
        times could be barred from all City property. If a homeless
        person is found on City property after receiving an exclusion
        order, they are subject to criminal prosecution for trespass.

            The panel stated that this court’s decision in Martin v.
        City of Boise, 902 F.3d 1031 (9th Cir. 2018), which held that
        “the Eighth Amendment prohibits the imposition of criminal
        penalties for sitting, sleeping, or lying outside on public
        property for homeless individuals who cannot obtain
        shelter” served as the backdrop for this entire litigation.



            **
              This summary constitutes no part of the opinion of the court. It
        has been prepared by court staff for the convenience of the reader.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 3 of 86




                     JOHNSON V. CITY OF GRANTS PASS                 3

            The panel first rejected the City’s argument that the
        district court lacked jurisdiction because plaintiffs’ claims
        were moot or because plaintiffs failed to identify any relief
        that was within a federal court’s power to redress. The panel
        held that there was abundant evidence in the record
        establishing that homeless persons were injured by the City’s
        enforcement actions in the past and it was undisputed that
        enforcements have continued. The panel further held that the
        relief sought by plaintiffs, enjoining enforcement of a few
        municipal ordinances aimed at involuntary homeless
        persons, was redressable within the limits of Article III. The
        death of class representative Debra Blake while the matter
        was on appeal did not moot the class’s claims as to all
        challenged ordinances except possibly the anti-sleeping
        ordinance. The panel vacated the summary judgment as to
        that ordinance and remanded to allow the district court the
        opportunity to substitute a class representative in Blake’s
        stead. The remaining class representatives had standing to
        challenge the park exclusion, criminal trespass and anti-
        camping ordinances.

            The panel held that based on the record in this case, the
        district court did not err by finding plaintiffs satisfied the
        requirements of Fed. R. Civ. P. 23(a) such that a class could
        be certified under Rule 23(b)(2). Although the City
        appeared to suggest that Martin’s need for an individualized
        inquiry of each alleged involuntary homeless person’s
        access to shelter defeated numerosity, commonality and
        typicality, the panel held that nothing in Martin precluded
        class actions. The panel held that the district court did not
        abuse its discretion in concluding the numerosity
        requirement was met; that plaintiffs’ claims presented at
        least one question and answer common to the class; and the
        class representatives’ claims and defenses were typical of the
        class in that they were homeless persons who claimed that
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 4 of 86




        4            JOHNSON V. CITY OF GRANTS PASS

        the City could not enforce the challenged ordinances against
        them when they have no shelter.

            Addressing the merits, the panel affirmed the district
        court’s ruling that the City of Grants Pass could not,
        consistent with the Eighth Amendment, enforce its anti-
        camping ordinances against homeless persons for the mere
        act of sleeping outside with rudimentary protection from the
        elements, or for sleeping in their car at night, when there was
        no other place in the City for them to go. The panel held that
        Martin applied to civil citations where, as here, the civil and
        criminal punishments were closely intertwined.

            There was no need to resolve whether the fines imposed
        under the anti-sleeping anti-camping ordinances violated the
        Eighth Amendment’s prohibition on excessive fines because
        the permanent injunction would result in no class member
        being fined for engaging in such protected activity. Finally,
        the panel held that it was unnecessary to decide whether
        plaintiffs properly pled their procedural due process
        challenge to the park exclusion appeals ordinance because
        subsequent to the district court’s order, the City amended the
        ordinance.

            The panel directed the district court on remand to narrow
        its injunction to enjoin only those portions of the anti-
        camping ordinances that prohibited conduct protected by
        Martin and this opinion. In particular, the district court
        should narrow its injunction to the anti-camping ordinances
        and enjoin enforcement of those ordinances only against
        involuntarily homeless person for engaging in conduct
        necessary to protect themselves from the elements when
        there was no shelter space available.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 5 of 86




                     JOHNSON V. CITY OF GRANTS PASS                   5

            Dissenting, Judge Collins stated that Martin seriously
        misconstrued the Eighth Amendment and the Supreme
        Court’s caselaw construing it, but even assuming that Martin
        remained good law, today’s decision—which both misread
        and greatly expanded Martin’s holding—was egregiously
        wrong. To make things worse, the majority opinion
        combined its gross misreading of Martin, which requires an
        individualized inquiry, with a flagrant disregard of settled
        class-certification principles pertaining to commonality
        under Fed. R. Civ. P. 23(a) and the requirements of Fed. R.
        Civ. P. 23(b). The end result of this amalgamation of error
        was that the majority validated the core aspects of the district
        court’s extraordinary injunction in this case, which
        effectively requires the City of Grants Pass to allow all but
        one of its public parks to be used as homeless encampments.


                                 COUNSEL

        Aaron P. Hisel (argued), Law Offices of Montoya Hisel and
        Associates, Salem, Oregon; Gerald L. Warren, Law Office
        of Gerald L. Warren, Salem, Oregon, for Defendant-
        Appellant.

        Edward Johnson (argued) and Walter Fonseca, Oregon Law
        Center, Portland, Oregon, for Plaintiffs-Appellees.

        Eric S. Tars, National Homelessness Law Center,
        Washington, D.C.; Tamar Ezer, Acting Director; David
        Berris, Joe Candelaria, and Lily Fontenot, Legal Interns;
        David Stuzin, Student Fellow; University of Miami School
        of Law, Human Rights Clinic, Coral Gables, Florida; Leilani
        Farha, Former United Nations Special Rapporteur on the
        Right to Adequate Housing and Global Director, The Shift
        #Right2Housing, Ottawa, Ontario, Canada; for Amici
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 6 of 86




        6           JOHNSON V. CITY OF GRANTS PASS

        Curiae University of Miami School of Law, Human Rights
        Clinic and National Homelessness Law Center.

        Kelsi B. Corkran and Seth Wayne, Institute for
        Constitutional Advocacy & Protection, Washington, D.C.,
        for Amicus Curiae Fines and Fees Justice Center.

        John He, Leslie Bailey, and Brian Hardingham, Public
        Justice, Oakland, California; John Thomas H. Do, ACLU
        Foundation of Northern California, San Francisco,
        California; for Amici Curiae Public Justice, ACLU of
        Northern California, ACLU of Southern California, ACLU
        of Oregon, Institute for Justice, National Center for Law and
        Economic Justice, and Rutherford Institute.

        Nicolle Jacoby, Dechert LLP, New York, New York; Tristia
        M. Bauman, National Homelessness Law Center,
        Washington, D.C.; for Amici Curiae National Homelessness
        Law Center, Homeless Rights Advocacy Project at the
        Korematsu Center for Law and Equality at Seattle University
        School of Law, and National Coalition for the Homeless.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 7 of 86




                       JOHNSON V. CITY OF GRANTS PASS                           7

                                      OPINION

        SILVER, District Judge:

            The City of Grants Pass in southern Oregon has a
        population of approximately 38,000. At least fifty, and
        perhaps as many as 600, homeless persons live in the City.1
        And the number of homeless persons outnumber the
        available shelter beds. In other words, homeless persons
        have nowhere to shelter and sleep in the City other than on
        the streets or in parks. Nonetheless, City ordinances
        preclude homeless persons from using a blanket, a pillow, or
        a cardboard box for protection from the elements while
        sleeping within the City’s limits. The ordinances result in
        civil fines up to several hundred dollars per violation and
        persons found to violate ordinances multiple times can be
        barred from all City property. And if a homeless person is
        found on City property after receiving an exclusion order,
        they are subject to criminal prosecution for trespass.

             In September 2018, a three-judge panel issued Martin v.
        City of Boise, 902 F.3d 1031 (9th Cir. 2018), holding “the
        Eighth Amendment prohibits the imposition of criminal
        penalties for sitting, sleeping, or lying outside on public
        property for homeless individuals who cannot obtain
        shelter.” Id. at 1048. Approximately six weeks after the
        initial Martin panel opinion, three homeless individuals filed
        a putative class action complaint against the City arguing a
        number of City ordinances were unconstitutional. The
        district court certified a class of “involuntarily homeless”
        persons and later granted partial summary judgment in favor

            1
               During this litigation the parties have used different phrases when
        referring to this population. For simplicity, we use “homeless persons”
        throughout this opinion.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 8 of 86




        8               JOHNSON V. CITY OF GRANTS PASS

        of the class.2 After the plaintiffs voluntarily dismissed some
        claims not resolved at summary judgment, the district court
        issued a permanent injunction prohibiting enforcement
        against the class members of some City ordinances, at
        certain times, in certain places. The City now appeals,
        arguing this case is moot, the class should not have been
        certified, the claims fail on the merits, and Plaintiffs did not
        adequately plead one of their theories. On the material
        aspects of this case, the district court was right.3


            2
               Persons are involuntarily homeless if they do not “have access to
        adequate temporary shelter, whether because they have the means to pay
        for it or because it is realistically available to them for free.” See Martin,
        920 F.3d at 617 n.8. However, someone who has the financial means to
        obtain shelter, or someone who is staying in an emergency shelter is not
        involuntarily homeless. See id. at 617 n.8. Contrary to the City’s
        argument, this definition of involuntary homelessness is not the same as
        the definition of “homeless” found in regulations for the Department of
        Housing and Urban Development, 24 C.F.R. § 582.5, or the McKinney-
        Vento Act, 42 U.S.C. § 11434a(2), the federal law regarding the right of
        homeless children to a public education. For example, the McKinney-
        Vento Act includes as “homeless children and youths” persons who may
        not qualify as involuntarily homeless under Martin, such as children and
        youths “living in emergency or transitional shelters.” 42 U.S.C.
        § 11434a(2). Though the district court noted in part that Plaintiffs met
        the definition of homelessness set forth in 24 C.F.R. § 582.5, the district
        court also relied on the specific definition of unsheltered homeless
        persons set forth in the Department of Housing and Urban
        Development’s regulations regarding point-in-time counts: “persons
        who are living in a place not designed or ordinarily used as a regular
        sleeping accommodation for humans must be counted as unsheltered
        homeless persons.” 24 C.F.R. § 578.7(c)(2)(i).

            3
              Our dissenting colleague’s strong disagreement with the majority
        largely arises from his disapproval of Martin. See, e.g., Dissent 50
        (“Even assuming Martin remains good law . . .”); Dissent 83 (“. . . and
        the gravity of Martin’s errors.”); Dissent 85 (claiming, without evidence,
        that “it is hard to deny that Martin has ‘generate[d] dire practical
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 9 of 86




                       JOHNSON V. CITY OF GRANTS PASS                         9

                                           I.

            This case involves challenges to five provisions of the
        Grants Pass Municipal Code (“GPMC”). The provisions can
        be described as an “anti-sleeping” ordinance, two “anti-
        camping” ordinances, a “park exclusion” ordinance, and a
        “park exclusion appeals” ordinance. When the district court
        entered judgment, the various ordinances consisted of the
        following.

            First, the anti-sleeping ordinance stated, in full

                 Sleeping on Sidewalks, Streets, Alleys, or
                 Within Doorways Prohibited

                 A. No person may sleep on public sidewalks,
                 streets, or alleyways at any time as a matter
                 of individual and public safety.

                 B. No person may sleep in any pedestrian or
                 vehicular entrance to public or private
                 property abutting a public sidewalk.

                 C. In addition to any other remedy provided
                 by law, any person found in violation of this
                 section may be immediately removed from
                 the premises.

        GPMC 5.61.020. A violation of this ordinance resulted in a
        presumptive $75 fine. If unpaid, that fine escalated to $160.
        If a violator pled guilty, the fines could be reduced by a state

        consequences”) (modification in original and citation omitted). But
        Martin is controlling law in the Ninth Circuit, to which we are required
        to adhere.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 10 of 86




        10           JOHNSON V. CITY OF GRANTS PASS

        circuit court judge to $35 for a first offense and $50 for a
        second offense. GPMC 1.36.010(K).

            Next, the general anti-camping ordinance prohibited
        persons from occupying a “campsite” on all public property,
        such as parks, benches, or rights of way. GPMC 5.61.030.
        The term “campsite” was defined as

                any place where bedding, sleeping bag, or
                other material used for bedding purposes, or
                any stove or fire is placed, established, or
                maintained for the purpose of maintaining a
                temporary place to live, whether or not such
                place incorporates the use of any tent, lean-
                to, shack, or any other structure, or any
                vehicle or part thereof.

        GPMC 5.61.010. A second overlapping anti-camping
        ordinance prohibited camping in public parks, including
        “[o]vernight parking” of any vehicle. GPMC 6.46.090. A
        homeless individual would violate this parking prohibition if
        she parked or left “a vehicle parked for two consecutive
        hours [in a City park] . . . between the hours of midnight and
        6:00 a.m.” Id. Violations of either anti-camping ordinance
        resulted in a fine of $295. If unpaid, the fine escalated to
        $537.60. However, if a violator pled guilty, the fine could
        be reduced to $180 for a first offense and $225 for a second
        offense. GPMC 1.36.010(J).

            Finally, the “park exclusion” ordinance allowed a police
        officer to bar an individual from all city parks for 30 days if,
        within one year, the individual was issued two or more
        citations for violating park regulations. GPMC 6.46.350(A).
        Pursuant to the “park exclusion appeals” ordinance,
        exclusion orders could be appealed to the City Council.
        GPMC 6.46.355. If an individual received a “park
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 11 of 86




                      JOHNSON V. CITY OF GRANTS PASS                      11

        exclusion” order, but subsequently was found in a city park,
        that individual would be prosecuted for criminal trespass.

            Since at least 2013, City leaders have viewed homeless
        persons as cause for substantial concern. That year the City
        Council convened a Community Roundtable (“Roundtable”)
        “to identify solutions to current vagrancy problems.”
        Participants discussed the possibility of “driving repeat
        offenders out of town and leaving them there.” The City’s
        Public Safety Director noted police officers had bought
        homeless persons bus tickets out of town, only to have the
        person returned to the City from the location where they
        were sent. A city councilor made clear the City’s goal
        should be “to make it uncomfortable enough for [homeless
        persons] in our city so they will want to move on down the
        road.” The planned actions resulting from the Roundtable
        included increased enforcement of City ordinances,
        including the anti-camping ordinances.

            The year following the Roundtable saw a significant
        increase in enforcement of the City’s anti-sleeping and anti-
        camping ordinances. From 2013 through 2018, the City
        issued a steady stream of tickets under the ordinances.4 On
        September 4, 2018, a three-judge panel issued its opinion in



            4
              The City issued the following number of tickets under the anti-
        sleeping and anti-camping ordinances:

                2013: 74 total tickets
                2014: 228 total tickets
                2015: 80 total tickets
                2016: 47 total tickets
                2017: 99 total tickets
                2018: 46 total tickets
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 12 of 86




        12             JOHNSON V. CITY OF GRANTS PASS

        Martin v. City of Boise, 902 F.3d 1031 (9th Cir. 2018).5 That
        case served as the backdrop for this entire litigation.

            In Martin, six homeless or recently homeless individuals
        sued the city of Boise, Idaho, seeking relief from criminal
        prosecution under two city ordinances related to public
        camping. Martin, 920 F.3d at 603–04. As relevant here,
        Martin held the Cruel and Unusual Punishment Clause of the
        “Eighth Amendment prohibits the imposition of criminal
        penalties for sitting, sleeping, or lying outside on public
        property for homeless individuals who cannot obtain
        shelter.” Id. at 616. Martin made clear, however, that a city
        is not required to “provide sufficient shelter for the
        homeless, or allow anyone who wishes to sit, lie, or sleep on
        the streets . . . at any time and at any place.” Id. at 617
        (quoting Jones v. City of Los Angeles, 444 F.3d 1118, 1138
        (9th Cir. 2006), vacated, 505 F.3d 1006 (9th Cir. 2007))
        (omission in original).



             5
               Following the opinion, the City of Boise petitioned for rehearing
        en banc. On April 1, 2019, an amended panel opinion was issued and
        the petition for rehearing was denied. Judge M. Smith, joined by five
        other judges, dissented from the denial of rehearing en banc. He argued
        the three-judge panel had, among other errors, misinterpreted the
        Supreme Court precedents regarding the criminalization of involuntary
        conduct. Martin, 920 F.3d at 591–92 (M. Smith, J., dissenting from
        denial of rehearing en banc). Judge Bennett, joined by four judges, also
        dissented from the denial of rehearing en banc. Judge Bennett argued
        the three-judge panel’s opinion was inconsistent with the original public
        meaning of the Cruel and Unusual Punishment Clause. Id. at 599
        (Bennett, J., dissenting from denial of rehearing en banc). The merits of
        those dissents do not alter the binding nature of the amended Martin
        panel opinion. Unless otherwise indicated, all citations to Martin
        throughout the remainder of this opinion are to the amended panel
        opinion.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 13 of 86




                     JOHNSON V. CITY OF GRANTS PASS                13

            The formula established in Martin is that the government
        cannot prosecute homeless people for sleeping in public if
        there “is a greater number of homeless individuals in [a
        jurisdiction] than the number of available” shelter spaces.
        Id. (alteration in original). When assessing the number of
        shelter spaces, Martin held shelters with a “mandatory
        religious focus” could not be counted as available due to
        potential violations of the First Amendment’s Establishment
        Clause. Id. at 609–10 (citing Inouye v. Kemna, 504 F.3d
        705, 712–13 (9th Cir. 2007)).

            In October 2018, approximately six weeks after the
        Martin opinion, Debra Blake filed her putative class action
        complaint against the City.         The complaint alleged
        enforcement of the City’s anti-sleeping and anti-camping
        ordinances violated the Cruel and Unusual Punishment
        Clause of the Eighth Amendment, the Equal Protection
        Clause of the Fourteenth Amendment, and the Due Process
        Clause of the Fourteenth Amendment. The complaint was
        amended to include additional named plaintiffs and to allege
        a claim that the fines imposed under the ordinances violated
        the Excessive Fines Clause of the Eighth Amendment. On
        January 2, 2019, a few months after the initial complaint was
        filed, and before Plaintiffs filed their class certification
        motion, the City amended its anti-camping ordinance in an
        attempt to come into compliance with Martin. Prior to this
        change, the anti-camping ordinance was worded such that
        “‘sleeping’ in parks . . . automatically constitut[ed]
        ‘camping.’” According to the City, “in direct response to
        Martin v. Boise, the City amended [the anti-camping
        ordinance] to make it clear that the act of ‘sleeping’ was to
        be distinguished from the prohibited conduct of ‘camping.’”
        The City meant to “make it clear that those without shelter
        could engage in the involuntary acts of sleeping or resting in
        the City’s parks.” Shortly after the City removed “sleeping”
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 14 of 86




        14             JOHNSON V. CITY OF GRANTS PASS

        from the “camping” definition, Plaintiffs moved to certify a
        class. Plaintiffs requested certification of a class defined as

                 All involuntarily homeless individuals living
                 in Grants Pass, Oregon, including homeless
                 individuals who sometimes sleep outside city
                 limits to avoid harassment and punishment
                 by [the City] as addressed in this lawsuit.

        Plaintiffs’ class certification motion was accompanied by a
        declaration from the Chief Operating Officer and Director of
        Housing and Homeless Services for United Community
        Action Network (“UCAN”), a non-profit organization that
        serves homeless people in Josephine County, the county
        where the City is located.6 UCAN had recently conducted a
        “point-in-time count of homeless individuals in Josephine
        County.”7 Based on that count, the Chief Operating
        Officer’s declaration stated “[h]undreds of [homeless]

             6
              The Department of Housing and Urban Development regulations
        impose obligations on the “continuum of care,” which is defined as “the
        group composed of representatives of relevant organizations . . . that are
        organized to plan for and provide, as necessary, a system of outreach,
        engagement, and assessment . . . to address the various needs of
        homeless persons and persons at risk of homelessness for a specific
        geographic area.” 24 C.F.R. § 576.2.

             7
               As the “continuum of care” in the City, UCAN was required to
        conduct point-in-time counts (“PIT counts”) of homeless persons within
        that geographic area. 24 C.F.R. § 578.7(c)(2). PIT counts measure the
        number of sheltered and unsheltered homeless individuals on a single
        night. 24 C.F.R. § 578.7(c)(2). The Martin court relied on PIT counts
        conducted by local non-profits to determine the number of homeless
        people in the jurisdiction. See Martin, 920 F.3d at 604. Courts and
        experts note that PIT counts routinely undercount homeless persons, but
        they appear to be the best available source of data on homelessness. See,
        e.g., id.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 15 of 86




                       JOHNSON V. CITY OF GRANTS PASS                        15

        people live in Grants Pass,” and “almost all of the homeless
        people in Grants Pass are involuntarily homeless. There is
        simply no place in Grants Pass for them to find affordable
        housing or shelter. They are not choosing to live on the street
        or in the woods.”

            The City opposed class certification, arguing Plaintiffs
        had not provided sufficient evidence to meet any of the
        requirements for certifying a class. The district court
        disagreed and certified the class proposed by Plaintiffs. The
        parties proceeded with discovery and filed cross-motions for
        summary judgment.

            At the time the parties filed their summary judgment
        motions, there were only four locations in the City that
        temporarily housed homeless persons, which proved
        inadequate. One location was run by the Gospel Rescue
        Mission, an explicitly religious organization devoted to
        helping the poor. The Gospel Rescue Mission operated a
        facility for single men without children, and another facility
        for women, including women with children. These two
        facilities required residents to work at the mission six hours
        a day, six days a week in exchange for a bunk for 30 days.
        Residents were required to attend an approved place of
        worship each Sunday and that place of worship had to
        espouse “traditional Christian teachings such as the Apostles
        Creed.” Disabled persons with chronic medical or mental
        health issues that prevented them from complying with the
        Mission’s rules were prohibited.8


             8
               Multiple class members submitted uncontested declarations to the
        district court stating they did not stay at the Gospel Rescue Mission
        because they suffer from disqualifying disabilities and/or were unwilling
        to attend church.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 16 of 86




        16           JOHNSON V. CITY OF GRANTS PASS

            In addition to the Gospel Rescue Mission, the City itself
        operated a “sobering center” where law enforcement could
        transport intoxicated or impaired persons. That facility
        consisted of twelve locked rooms with toilets where
        intoxicated individuals could sober up. The rooms did not
        have beds. The City also provided financial support to the
        Hearts with a Mission Youth Shelter, an 18-bed facility
        where unaccompanied minors aged 10 to 17 could stay for
        up to 72 hours, and could stay even longer if they had
        parental consent.

            Finally, on nights when the temperature was below 30
        degrees (or below 32 degrees with snow), UCAN operated a
        “warming center” capable of holding up to 40 individuals.
        That center did not provide beds. The center reached
        capacity on every night it operated except the first night it
        opened, February 3, 2020. Between February 3 and March
        19, 2020, the warming center was open for 16 nights. The
        center did not open at all during the winter of 2020–2021.

             Presented with evidence of the number of homeless
        persons and the shelter spaces available, the district court
        concluded “[t]he record is undisputed that Grants Pass has
        far more homeless individuals than it has practically
        available shelter beds.” The court then held that, based on
        the unavailability of shelter beds, the City’s enforcement of
        its anti-camping and anti-sleeping ordinances violated the
        Cruel and Unusual Punishment Clause. The fact that Martin
        involved criminal violations while the present case involved
        initial civil violations that matured into criminal violations
        made “no difference for Eight Amendment purposes.” Next,
        the court held the system of fines violated the Eighth
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 17 of 86




                       JOHNSON V. CITY OF GRANTS PASS                          17

        Amendment’s Excessive Fines Clause.9 Finally, the court
        held the appeals process for park exclusions violated
        procedural due process under the Due Process Clause of the
        Fourteenth Amendment.

            In reaching its decision the district court was careful to
        point out that, consistent with Martin, the scope of its
        decision was limited. The court’s order made clear that the
        City was not required to provide shelter for homeless
        persons and the City could still limit camping or sleeping at
        certain times and in certain places. The district court also
        noted the City may still “ban the use of tents in public parks,”
        “limi[t] the amount of bedding type materials allowed per
        individual,” and pursue other options “to prevent the
        erection of encampments that cause public health and safety
        concerns.”10

           Approximately one month after the summary judgment
        order, the district court issued a judgment which included a

            9
               Part of the City’s argument on this issue was that the fines are not
        mandatory because state court judges retain discretion not to impose
        fines. This is inconsistent with the text of the ordinances and not
        supported by the record. The provision of the municipal code defining
        penalties for ordinance violations clarifies that the fines are mandatory.
        It provides, the fines “shall be $295” and “shall be $75.” GPMC
        1.36.010(J)–(K) (emphasis added). Conversely, it is only discretionary
        to reduce fines because the relevant ordinance provides that, “[u]pon a
        plea of guilty . . . the penalty may be reduced” to the amount listed for a
        first or second offense. Id. (emphasis added). After a second citation,
        there is no authority within the municipal code that permits judges to
        reduce fines, and there is no evidence in the record demonstrating circuit
        court judges have reduced fines except pursuant to GPMC 1.36.010.
            10
               The district court denied summary judgment on other claims
        brought by Plaintiffs. Those claims were subsequently voluntarily
        dismissed.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 18 of 86




        18             JOHNSON V. CITY OF GRANTS PASS

        permanent injunction that provided a complicated mix of
        relief. First, the district court declared the ordinance
        regarding the appeals of park exclusions failed to provide
        “adequate procedural due process,” but that ordinance was
        not permanently enjoined. Instead, the district court
        enjoined only the enforcement of the underlying park
        exclusion ordinance. Next, the district court declared
        enforcement of the anti-sleeping and anti-camping
        ordinances against class members “violates the Eighth
        Amendment prohibition against cruel and unusual
        punishment” and “violates the Eighth Amendment
        prohibition against excessive fines.” Without explanation,
        however, the district court did not enjoin those ordinances in
        their entirety. Rather, the district court entered no injunctive
        relief regarding the anti-sleeping ordinance. But the district
        court permanently enjoined enforcement of the anti-camping
        ordinances, as well as an ordinance regarding “criminal
        trespassing on city property related to parks,” in all City
        parks at night except for one park where the parties agreed
        the injunction need not apply.11 The district court also
        permanently enjoined enforcement of the anti-camping
        ordinances during daytime hours unless an initial warning
        was given “at least 24 hours before enforcement.”
        Accordingly, under the permanent injunction, the anti-
        camping ordinances may be enforced under some
        circumstances during the day, but never at night.

            The City appealed and sought initial en banc review to
        clarify the scope of Martin. The petition for initial hearing
        en banc was denied.


             11
                The City ordinance regarding “criminal trespass” was never at
        issue in the litigation until the permanent injunction. Plaintiffs explain
        it was included in the injunction “[b]y agreement of the parties.”
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 19 of 86




                      JOHNSON V. CITY OF GRANTS PASS                      19

                                         II.

            The core issue involving enforcement of the anti-
        camping ordinances is governed in large part by Martin.
        While there are some differences between Martin and the
        present case, the City has not identified a persuasive way to
        differentiate its anti-camping ordinances from the
        questioned ordinances in Martin. Therefore, the district
        court’s ruling that the Cruel and Unusual Punishment Clause
        bars enforcement of the anti-camping ordinances will be
        mostly affirmed. We need not address the potential
        excessiveness of the fines issue or whether Plaintiffs
        adequately pled their due process challenge.

            Our analysis proceeds in five parts. First, we reject the
        City’s argument that the district court lacked jurisdiction.12
        Second, we find no abuse of discretion in the district court’s
        certification of a class of involuntarily homeless persons.
        Third, we agree with the district court that at least portions
        of the anti-camping ordinance violate the Cruel and Unusual
        Punishment clause under Martin. Fourth, we conclude there
        is no need to resolve whether the fines violate the Excessive
        Fines clause. Fifth, we hold it is unnecessary to decide
        Plaintiffs’ procedural due process claim.

                                         A.

            Standing and mootness are questions of law that we
        review de novo. Hartman v. Summers, 120 F.3d 157, 159
        (9th Cir. 1997); Foster v. Carson, 347 F.3d 742, 745 (9th
        Cir. 2003). “Federal courts must determine that they have
            12
               However, we vacate summary judgment and remand as to the anti-
        sleeping ordinance to afford the district court the opportunity to
        substitute a class representative in place of Debra Blake, who passed
        away while this matter was on appeal.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 20 of 86




        20           JOHNSON V. CITY OF GRANTS PASS

        jurisdiction before proceeding to the merits,” and plaintiffs
        must demonstrate standing as a necessary component of
        jurisdiction. Lance v. Coffman, 549 U.S. 437, 439 (2007).
        To have Article III standing, a plaintiff must show (1) a
        concrete and particularized injury, (2) caused by the
        challenged conduct, (3) that is likely redressable by a
        favorable judicial decision. Friends of the Earth, Inc. v.
        Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 180–81
        (2000). For purposes of injunctive relief, “[a]bstract injury
        is not enough”—the plaintiff must have sustained or be in
        immediate danger “of sustaining some direct injury as the
        result of the challenged” law. O’Shea v. Littleton, 414 U.S.
        488, 494 (1974) (quotation marks and citation omitted).

            The City’s appellate briefing makes two standing
        arguments. First, the City argues Plaintiffs’ claims are now
        moot because Plaintiffs no longer face a risk of injury based
        on the City’s changed behavior after Martin. Second, the
        City argues Plaintiffs have not identified any relief that is
        within a federal court’s power to redress. Both arguments
        are without merit.

            A claim becomes moot, and no longer justiciable in
        federal court, if it has been remedied independent of the
        court. See Genesis Healthcare Corp. v. Symczyk, 569 U.S.
        66, 72 (2013). There is abundant evidence in the record
        establishing homeless persons were injured by the City’s
        enforcement actions in the past. The City argues, however,
        that it made changes after Martin such that there is no longer
        a threat of future injury. The problem for the City is that
        voluntary cessation of challenged practices rarely suffices to
        moot a case and, in any event, there is evidence the
        challenged practices have continued after Martin.

            “It is well settled that ‘a defendant’s voluntary cessation
        of a challenged practice does not deprive a federal court of
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 21 of 86




                     JOHNSON V. CITY OF GRANTS PASS                  21

        its power to determine the legality of the practice.’” Friends
        of the Earth, 528 U.S. at 189 (quoting City of Mesquite v.
        Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1982)). This is so
        “because a dismissal for mootness would permit a
        resumption of the challenged conduct as soon as the case is
        dismissed.” Knox v. Serv. Emps. Int’l Union, Local 1000,
        567 U.S. 298, 307 (2012). Thus, the City “bears the
        formidable burden of showing that it is absolutely clear the
        allegedly wrongful behavior could not reasonably be
        expected to recur.” Friends of the Earth, 528 U.S. at 190.
        Instead of the City making it “absolutely clear” it has
        stopped enforcement activities, the record shows ongoing
        enforcement.

            The parties diverge substantially on how to characterize
        the degree of enforcement after Martin was issued in
        September 2018. The City argued in its briefing and at oral
        argument that it has largely complied with Martin, noting the
        2019 amendment to an anti-camping ordinance, that
        citations were issued “sparingly” in 2019, and in particular
        it says it issued only two citations during the late evening
        and early morning since Martin. The City supports its
        petition with a declaration from a City police officer stating
        “[i]t is the regular practice of every officer I know of on this
        department to enforce these Ordinances sparingly and in
        recognition of the different circumstances we encounter.”
        As for Plaintiffs, they offered evidence showing
        enforcement continued after Martin such that class members
        received citations and exclusion orders for camping or
        sleeping and were prosecuted for criminal trespass between
        the point the lawsuit was filed and the close of discovery.

           Although the record does show the rate of enforcement
        of the various ordinances decreased since Martin, even
        accepting the City’s position the evidence is undisputed that
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 22 of 86




        22             JOHNSON V. CITY OF GRANTS PASS

        enforcement continued.13 It is plainly inaccurate for the City
        to claim all enforcement ceased. The ongoing enforcement
        activities establish the City did not meet its “formidable
        burden” of showing the challenged activities will not recur.
        Friends of the Earth, 528 U.S. at 190. The City’s mootness
        argument fails.14

            The City’s other jurisdictional argument is that
        Plaintiffs’ claims are not redressable. According to the City,

             13
               The City also argues “there was no evidence that anyone was ever
        cited for the simple act of sleeping in a City park” after Martin. But the
        citation issued to Dolores Nevin in late December 2019 pursuant to the
        City’s “criminal trespass” ordinance included a narrative explaining,
        “[d]uring an area check of Riverside Park, Dolores Nevin was found
        sleeping during closed hours. Nevin, who has been warned in the past,
        was issued a citation for Trespass on City Property.” (emphasis added).
        And on September 11, 2019, Grants Pass Police Officer Jason McGinnis
        issued citations to Debra Blake and Carla Thomas for being in Riverside
        Park at approximately 7:30 a.m. with sleeping bags and belongings
        spread around themselves. Other individuals cited for camping in a city
        park in 2019 include class members: Gail Laine, William Stroh, Dawn
        Schmidt, Cristina Trejo, Kellie Parker, Colleen Bannon, Amanda Sirnio,
        and Michael and Louana Ellis.

             14
                Mootness was also considered during the Martin litigation. See
        Bell v. City of Boise, 709 F.3d 890, 898, 900–01 (9th Cir. 2013). The
        City of Boise argued that a combination of an amended definition of
        “camping” in the ordinance and a “Special Order,” prohibiting police
        officers from enforcing the ordinances when a person is on public
        property and there is no available overnight shelter, mooted the case. Id.
        at 894–95. We rejected the argument that the change to the definition of
        “camping” rendered the case moot because “[m]ere clarification of the
        Camping Ordinance does not address the central concerns of the
        Plaintiffs’ Eighth Amendment claims”—that the ordinance “effectively
        criminalized their status as homeless individuals.” Id. at 898 n.12. And
        we held the adoption of a “Special Order” did not moot the case because
        the Special Order was not a legislative enactment, and as such it “could
        be easily abandoned or altered in the future.” Id. at 901.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 23 of 86




                     JOHNSON V. CITY OF GRANTS PASS                 23

        any possible relief intrudes inappropriately upon matters of
        policy best left to executive and legislative discretion. We
        disagree. Consistent with Martin, the district court granted
        limited relief enjoining enforcement of a few municipal
        ordinances at certain times, in certain places, against certain
        persons. None of the cases cited by the City credibly support
        its argument that the district court injunction overstepped the
        judiciary’s limited authority under the Constitution.
        Contrary to the City’s position, enjoining enforcement of a
        few municipal ordinances aimed at involuntarily homeless
        persons cannot credibly be compared to an injunction
        seeking to require the federal government to “phase out
        fossil fuel emissions and draw down excess atmospheric
        CO2.” Juliana v. United States, 947 F.3d 1159, 1164–65
        (9th Cir. 2020). The relief sought by Plaintiffs was
        redressable within the limits of Article III. See Renee v.
        Duncan, 686 F.3d 1002, 1013 (9th Cir. 2012) (holding a
        plaintiff’s burden to demonstrate redressability is “relatively
        modest”) (citation omitted).

            Finally, we raise sua sponte the possibility that the death
        of class representative Debra Blake while this matter was on
        the appeal has jurisdictional significance. Cf. Fort Bend Cty.
        v. Davis, 139 S.Ct. 1843, 1849 (2019) (holding courts must
        raise issues of subject matter jurisdiction sua sponte). We
        hold Blake’s death does not moot the class’s claims as to all
        challenged ordinances except possibly the anti-sleeping
        ordinance. As to that ordinance, we remand to allow the
        district court the opportunity to substitute a class
        representative in Blake’s stead.

            With respect to the park exclusion, criminal trespass, and
        anti-camping ordinances, the surviving class representatives,
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 24 of 86




        24             JOHNSON V. CITY OF GRANTS PASS

        Gloria Johnson15 and John Logan,16 have standing in their
        own right. Although they live in their cars, they risk
             15
                The dissent suggests Gloria Johnson does not have standing to
        challenge the park exclusion and criminal trespass ordinances.
        Dissent 65–66. The dissent concedes, however, Johnson has standing to
        challenge the anti-camping ordinances, GPMC 5.61.030, 6.46.090. But
        the dissent does not provide a meaningful explanation why it draws this
        distinction between the ordinances that work in concert. It is true
        Johnson has not received a park exclusion order and has not been charged
        with criminal trespass in the second degree. However, there is little doubt
        that her continued camping in parks would lead to a park exclusion order
        and, eventually, criminal trespass charges. Johnson is positioned to bring
        a pre-enforcement challenge against the park exclusion and criminal
        trespass ordinances, because they will be used against her given the
        undisputed fact that she remains involuntarily homeless in Grants Pass.
        She established a credible threat of future enforcement under the anti-
        camping ordinances which creates a credible threat of future
        enforcement under the park exclusion and criminal trespass ordinances.

             16
                The dissent claims John Logan has not established standing.
        Dissent 63–65. During the course of this case, Logan submitted two
        declarations. At the class certification stage, his declaration stated he
        “lived out of [his] truck on the streets in Grants Pass for about 4 years.”
        During that time, he was “awakened by City of Grants Pass police officer
        and told that I cannot sleep in my truck anywhere in the city and ordered
        to move on.” To avoid those encounters, Logan “usually sleep[s] in [his]
        truck just outside the Grants Pass city limits.” However, Logan stated
        “[i]f there was some place in the city where [he] could legally sleep in
        [his] truck, [he] would because it would save valuable gas money and
        avoid . . . having to constantly move.” Logan also explained he has “met
        dozens, if not hundreds, of homeless people in Grants Pass” over the
        years who had been ticketed, fined, arrested, and criminally prosecuted
        “for living outside.” At summary judgment, Logan submitted a
        declaration stating he is “currently involuntarily homeless in Grants Pass
        and sleeping in [his] truck at night at a rest stop North of Grants Pass.”
        He stated he “cannot sleep in the City of Grants Pass for fear that [he]
        will be awakened, ticketed, fined, moved along, trespassed and charged
        with Criminal Trespass.” The dissent reads this evidence as indicating
        Logan failed to “provide[] any facts to establish” that he is likely to be
        issued a citation under the challenged ordinances. Dissent 64. We do
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 25 of 86




                        JOHNSON V. CITY OF GRANTS PASS                            25

        enforcement under all the same ordinances as Blake and the
        class (with the exception of the anti-sleeping ordinance,
        GPMC 5.61.020, which cannot be violated by sleeping in a
        car) and have standing in their own right as to all ordinances
        except GPMC 5.61.020.

            With respect to the anti-sleeping ordinance, the law is
        less clear. Debra Blake is the only class representative who
        had standing in her own right to challenge the anti-sleeping
        ordinance. Under cases such as Sosna v. Iowa, 419 U.S. 393,
        401 (1975), and Franks v. Bowman Transportation Co., Inc.,
        424 U.S. 747 (1976), a class representative may pursue the
        live claims of a properly certified class—without the need to
        remand for substitution of a new representative17—even

        not agree. The undisputed facts establish Logan is involuntarily
        homeless. When he slept in Grants Pass, he was awoken by police
        officers and ordered to move. His personal knowledge was that
        involuntarily homeless individuals in Grants Pass often are cited under
        the challenged ordinances and Grants Pass continues to enforce the
        challenged ordinances. And, but for the challenged ordinances, Logan
        would sleep in the city. Therefore, as the district court found, it is
        sufficiently likely Logan would be issued a citation that Logan’s
        standing is established. That is especially true given the Supreme Court's
        instruction that a plaintiff need not wait for “an actual arrest, prosecution,
        or other enforcement action” before “challenging [a] law.” Susan B.
        Anthony List v. Driehaus, 573 U.S. 149, 158 (2014). Finally, even if
        Logan had not demonstrated standing, the dissent’s analysis regarding
        Logan is irrelevant because this case could proceed solely based on the
        standing established by Gloria Johnson and the class. See Bates v. United
        Parcel Serv., Inc., 511 F.3d at 985 (9th Cir. 2007) (en banc).

            17
               See Sosna, 419 U.S. at 403 (“[W]e believe that the test of Rule
        23(a) is met.”); id. at 416–17 (White, J., dissenting) (“It is claimed that
        the certified class supplies the necessary adverse parties for a continuing
        case or controversy . . . The Court cites no authority for this retrospective
        decision as to the adequacy of representation which seems to focus on
        the competence of counsel rather than a party plaintiff who is a
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 26 of 86




        26             JOHNSON V. CITY OF GRANTS PASS

        after his own claims become moot, provided that several
        requirements are met.18 See Bates v. United Parcel Serv.,
        Inc., 511 F.3d 974, 987–88 (9th Cir. 2007) (en banc). If
        Debra Blake’s challenge to the anti-sleeping ordinance
        became moot before she passed away, she could have
        continued to pursue the challenge on behalf of the class
        under the doctrine of Sosna. But we have not found any case
        applying Sosna and Franks to a situation such as this, in
        which the death of a representative causes a class to be
        unrepresented as to part (but not all) of a claim. The parties
        did not brief this issue and no precedent indicates whether
        this raises a jurisdictional question, which would deprive us
        of authority to review the merits of the anti-sleeping
        ordinance challenge, or a matter of Federal Rule of Civil
        Procedure 23, which might not.

            Because Plaintiffs have not moved to substitute a class
        representative pursuant to Federal Rule of Appellate
        Procedure 43(a) or identified a representative who could be
        substituted, because no party has addressed this question in
        briefing, and because we are not certain of our jurisdiction
        to consider the challenge to the anti-sleeping ordinance, we
        think it appropriate to vacate summary judgment as to the

        representative member of the class. At the very least, the case should be
        remanded to the District Court.”).

             18
               The class must be properly certified, see Franks, 424 U.S. at 755–
        56, or the representative must be appealing denial of class certification.
        See United States Parole Comm’n v. Geraghty, 445 U.S. 388, 404
        (1980). The class representative must be a member of the class with
        standing to sue at the time certification is granted or denied. See Sosna,
        419 U.S. at 403. The unnamed class members must still have a live
        interest in the matter throughout the duration of the litigation. See
        Franks, 424 U.S. at 755. And the court must be satisfied that the named
        representative will adequately pursue the interests of the class even
        though their own interest has expired. See Sosna, 419 U.S. at 403.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 27 of 86




                     JOHNSON V. CITY OF GRANTS PASS                27

        anti-sleeping ordinance and remand to determine whether a
        substitute representative is available as to that challenge
        alone. See Cobell v. Jewell, 802 F.3d 12, 23–24 (D.C. Cir.
        2015) (discussing substitution of a party during appeal).
        Substitution of a class representative may significantly aid
        in the resolution of the issues in this case. Remand will not
        cause significant delay because, as we explain below,
        remand is otherwise required so that the injunction can be
        modified. In the absence of briefing or precedent regarding
        this question, we do not decide whether this limitation is
        jurisdictional or whether it arises from operation of Rule 23.

            We therefore hold the surviving class representatives at
        a minimum have standing to challenge every ordinance
        except the anti-sleeping ordinance. As to the anti-sleeping
        ordinance, we vacate summary judgment and remand for the
        district court to consider in the first instance whether an
        adequate class representative, such as class member Dolores
        Nevin, exists who may be substituted.

                                     B.

            The City’s next argument is the district court erred in
        certifying the class. We “review a district court’s order
        granting class certification for abuse of discretion, but give
        the district court ‘noticeably more deference when reviewing
        a grant of class certification than when reviewing a denial.’”
        Patel v. Facebook, Inc., 932 F.3d 1264, 1275 (9th Cir. 2019)
        (internal citation omitted) (quoting Just Film, Inc. v. Buono,
        847 F.3d 1108, 1115 (9th Cir. 2017)). Factual findings
        underlying class certification are reviewed for clear error.
        Parsons v. Ryan, 754 F.3d 657, 673 (9th Cir. 2014).

            A member of a class may sue as a representative party if
        the member satisfies Federal Rule of Civil Procedure 23(a)’s
        four prerequisites: numerosity, commonality, typicality, and
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 28 of 86




        28             JOHNSON V. CITY OF GRANTS PASS

        adequacy of representation. Fed. R. Civ. P. 23(a); Mazza v.
        Am. Honda Motor Co., Inc., 666 F.3d 581, 588 (9th Cir.
        2012). Assessing these requirements involves “rigorous
        analysis” of the evidence. Wal-Mart Stores, Inc. v. Dukes,
        564 U.S. 338, 351 (2011) (quoting Gen. Tel. Co. of the Sw.
        v. Falcon, 457 U.S. 147, 161 (1982)).

            If the initial requirements of Rule 23(a) are met, a
        putative class representative must also show the class falls
        into one of three categories under Rule 23(b). Plaintiffs
        brought this suit under Rule 23(b)(2), seeking injunctive or
        declaratory relief based on the City having “acted or refused
        to act on grounds that apply generally to the class, so that
        final injunctive relief or corresponding declaratory relief is
        appropriate respecting the class as a whole.” Fed. R. Civ.
        P. 23(b)(2).

            The district court found the Rule 23(a) requirements
        satisfied and certified a class under Rule 23(b)(2). The
        City’s arguments against this class certification are obscure.
        It appears the City’s argument is that class certification was
        an abuse of discretion because the holding of Martin can
        only be applied after an individualized inquiry of each
        alleged involuntarily homeless person’s access to shelter.19
        The City appears to suggest the need for individualized
        inquiry defeats numerosity, commonality, and typicality.
        While we acknowledge the Martin litigation was not a class
        action, nothing in that decision precluded class actions.20
             19
               There is no reason to believe the putative class members are
        voluntarily homeless. To the contrary, at least 13 class members
        submitted declarations to the district court indicating that they are
        involuntarily homeless.
             20
               Other courts have certified similar classes. See e.g., Lehr v. City
        of Sacramento, 259 F.R.D. 479 (E.D. Cal. 2009) (addressing numerosity,
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 29 of 86




                       JOHNSON V. CITY OF GRANTS PASS                       29

        And based on the record in this case, the district court did
        not err by finding Plaintiffs satisfied the requirements of
        Rule 23 such that a class could be certified.

            To satisfy the numerosity requirement a proposed class
        must be “so numerous that joinder of all members is
        impracticable.” Fed. R. Civ. P. 23(a)(1). For purposes of
        this requirement, “‘impracticability’ does not mean
        ‘impossibility,’ but only the difficulty or inconvenience of
        joining all members of the class.” Harris v. Palm Springs
        Alpine Ests., Inc., 329 F.2d 909, 913–14 (9th Cir. 1964)
        (quotation omitted). There is no specific number of class
        members required. See Gen. Tel. Co. of the Nw., Inc. v.
        EEOC, 446 U.S. 318, 330 (1980). However, proposed
        classes of less than fifteen are too small while classes of
        more than sixty are sufficiently large. Harik v. Cal.
        Teachers Ass’n, 326 F.3d 1042, 1051–52 (9th Cir. 2003).

            When the district court certified the class on August 7,
        2019, it found there were at least 600 homeless persons in
        the City based on the 2018 and 2019 PIT counts conducted
        by UCAN. The City does not identify how this finding was
        clearly erroneous. In fact, the City affirmatively indicated to
        Plaintiffs prior to the class certification order that the number
        of homeless persons residing in Grants Pass for the past
        7 years was “unknown.” Further, the only guidance offered
        by the City regarding a specific number of class members
        came long after the class was certified. A City police officer
        claimed in a declaration that he was “aware of less than fifty

        commonality, and typicality for homeless persons in Sacramento); Joyce
        v. City & Cty. of S.F., 1994 WL 443464 (N.D. Cal. Aug. 4, 1994),
        dismissed as moot, 87 F.3d 1320 (9th Cir. 1996) (finding typicality
        despite some differences among homeless class members); Pottinger v.
        City of Miami, 720 F.Supp. 955, 960 (S.D. Fla. 1989) (certifying a class
        of homeless persons).
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 30 of 86




        30             JOHNSON V. CITY OF GRANTS PASS

        individuals total who do not have access to any shelter” in
        the City. The officer admitted, however, it “would be
        extremely difficult to accurately estimate the population of
        people who are homeless in Grants Pass regardless of the
        definition used.”

             The officer’s guess of “less than fifty” homeless persons
        is inconsistent with the general understanding that PIT
        counts routinely undercount homeless persons. See Martin,
        920 F.3d at 604 (“It is widely recognized that a one-night
        point in time count will undercount the homeless
        population.”) (internal quotation marks omitted). But even
        accepting the officer’s assessment that there were
        approximately fifty homeless persons in the City, the
        numerosity requirement is satisfied. Joining approximately
        fifty persons might be impracticable and especially so under
        the facts here because homeless persons obviously lack a
        fixed address and likely have no reliable means of
        communications.21 At the very least, the district court did

             21
                Moreover, there is a well-documented correlation between
        physical and mental illness and homelessness. See, e.g., Sara K. Rankin,
        Punishing Homelessness, 22 N. CRIM. L. REV. 99, 105 (2019)
        (“Psychiatric disorders affect at least 30 to 40 percent of all people
        experiencing homelessness.”); Stefan Gutwinski et al., The prevalence
        of mental disorders among homeless people in high-income countries:
        An updated systematic review and meta-regression analysis, 18(8) PLOS
        MED. 1, 14 (Aug. 23, 2021), (“Our third main finding was high
        prevalence rates for treatable mental illnesses, with 1 in 8 homeless
        individuals having either major depression (12.6%) or schizophrenia
        spectrum disorders (12.4%). This represents a high rate of schizophrenia
        spectrum disorders among homeless people, and a very large excess
        compared to the 12-month prevalence in the general population, which
        for schizophrenia is estimated around 0.7% in high-income countries.”);
        Greg A. Greenberg & Robert A. Rosenheck, Jail Incarceration,
        Homelessness, and Mental Health: A National Study, 59 PSYCHIATRIC
        SERVS. 170, 170 (2008) (“Homeless individuals may also be more likely
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 31 of 86




                        JOHNSON V. CITY OF GRANTS PASS                          31

        not abuse its discretion in concluding the numerosity
        requirement was met.

            A class satisfies Rule 23’s commonality requirement if
        there is at least one question of fact or law common to the
        class. Wang v. Chinese Daily News, Inc., 737 F.3d 538, 544
        (9th Cir. 2013). The Supreme Court has said the word
        “question” in Rule 23(a)(2) is a misnomer: “What matters to
        class certification . . . is not the raising of common
        ‘questions’—even in droves—but rather, the capacity of a
        class-wide proceeding to generate common answers apt to
        drive the resolution of the litigation.” Wal-Mart, 564 U.S. at
        350 (quoting Richard A. Nagareda, Class Certification in the
        Age of Aggregate Proof, 84 N.Y.U. L. Rev. 97, 132 (2009))
        (emphasis and omission in original)). “[C]lass members’
        claims [must] ‘depend upon a common contention’ such that
        ‘determination of its truth or falsity will resolve an issue that
        is central to the validity of each [claim] in one stroke.’”
        Mazza, 666 F.3d at 588 (quoting Wal-Mart, 564 U.S. at 350).

            As correctly identified by the district court, Plaintiffs’
        claims present at least one question and answer common to
        the class: “whether [the City’s] custom, pattern, and practice
        of enforcing anti-camping ordinances, anti-sleeping
        ordinances, and criminal trespass laws . . . against
        involuntarily homeless individuals violates the Eighth
        Amendment of the Constitution.” An answer on this

        to have health conditions . . . Severe mental illness is also more prevalent
        among homeless people than in the general population.”); CTR. FOR
        DISEASE CONTROL & PREVENTION, HOMELESSNESS AS A PUBLIC
        HEALTH LAW ISSUE: SELECTED RESOURCES (Mar. 2, 2017)
        (“Homelessness is closely connected to declines in physical and mental
        health; homeless persons experience high rates of health problems such
        as HIV infection, alcohol and drug abuse, mental illness, tuberculosis,
        and other conditions.”).
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 32 of 86




        32              JOHNSON V. CITY OF GRANTS PASS

        question resolved a crucial aspect of the claims shared by all
        class members.

            The City argues the commonality requirement was not
        met because some class members might have alternative
        options for housing, or might have the means to acquire their
        own shelter.22 But this argument misunderstands the class
        definition. Pursuant to the class definition, the class includes
        only involuntarily homeless persons.23 Individuals who

             22
               The dissent adapts the City’s argument that enforcement of the
        anti-camping ordinances depends on individual circumstances and is
        therefore not capable of resolution on a common basis. Dissent 72. That
        misunderstands how the present class was structured. The dissent
        attempts to reframe the common question as a very general inquiry. It
        appears the dissent interprets the question whether an Eighth
        Amendment violation must be determined by an individualized inquiry
        as whether each individual is “involuntarily homeless.” To assess that,
        a court would have to conduct an individualized inquiry and determine
        if an individual was “involuntarily homeless.” But that is not the
        common question in this case. Rather, the question is whether the City's
        enforcement of the anti-camping ordinances against all involuntarily
        homeless individuals violates the Eighth Amendment. This question is
        capable of common resolution on a prospective class-wide basis, as the
        record establishes.

             23
                 The dissent argues this created a prohibited “fail safe” class. That
        is erroneous. As noted in a recent en banc decision, “a ‘fail safe’ class
        . . . is defined to include only those individuals who were injured by the
        allegedly unlawful conduct.” Olean Wholesale Grocery Coop., Inc. v.
        Bumble Bee Foods LLC, 31 F.4th 651, 669 n.14 (9th Cir. 2022) (en
        banc). Such classes are prohibited “because a class member either wins
        or, by virtue of losing, is defined out of the class and is therefore not
        bound by the judgment.” Id. See also Ruiz Torres v. Mercer Canyons
        Inc., 835 F.3d 1125, 1138 (9th Cir. 2016) (noting a fail safe class “is one
        that is defined so narrowly as to preclude[ ] membership unless the
        liability of the defendant is established”). No such class is present here.
        The class was defined, in relevant part, as “[a]ll involuntarily homeless
        individuals living in Grants Pass.” Membership in that class has no
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 33 of 86




                       JOHNSON V. CITY OF GRANTS PASS                          33

        have shelter or the means to acquire their own shelter simply
        are never class members.24 Because we find there existed at
        least one question of law or fact common to the class, the
        district court did not abuse its discretion in concluding
        commonality was satisfied.

            Typicality asks whether “the claims or defenses of the
        representative parties are typical” of the class. Fed. R. Civ.
        P. 23(a)(3). Typicality is a “permissive standard[].” Staton
        v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003) (citation
        omitted). It “refers to the nature of the claim or defense of
        the class representative, and not to the specific facts from

        connection to the success of the underlying claims. Put differently, the
        class would have consisted of exactly the same population whether
        Grants Pass won or lost on the merits. The obvious illustration of this is
        the class population would not change if a court determined the anti-
        camping ordinance violated the Eighth Amendment while the anti-
        sleeping ordinance did not. In that situation, class members would not be
        “defined out of the class.” Olean, 31 F.4th at 669 n.14 (citation omitted).
        Rather, class members would be “bound by the judgment” regarding the
        anti-sleeping ordinance. Id. In any event, the dissent’s concerns
        regarding individualized determinations are best made when the City
        attempts to enforce its ordinances. Cf. McArdle v. City of Ocala,
        519 F.Supp.3d 1045, 1052 (M.D. Fla. 2021) (requiring that officers
        inquire into the availability of shelter space before an arrest could be
        made for violation of the City’s “open lodging” ordinance). If it is
        determined at the enforcement stage that a homeless individual has
        access to shelter, then they do not benefit from the injunction and may
        be cited or prosecuted under the anti-camping ordinances. Moreover, as
        we noted above, several classes of homeless individuals have been
        certified in this past. See supra note 18.

            24
                We do not, as the dissent contends, “suggest[ ] that the class
        definition requires only an involuntary lack of access to regular or
        permanent shelter to qualify as ‘involuntarily homeless.’” Dissent 77–
        78. It is unclear where the dissent finds this in the opinion. To be clear:
        A person with access to temporary shelter is not involuntarily homeless
        unless and until they no longer have access to shelter.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 34 of 86




        34           JOHNSON V. CITY OF GRANTS PASS

        which it arose or the relief sought.” Parsons, 754 F.3d at
        685 (citation omitted).

            The class representatives’ claims and defenses are
        typical of the class in that they are homeless persons who
        claim that the City cannot enforce the challenged ordinances
        against them when they have no shelter. The defenses that
        apply to class representatives and class members are
        identical. The claims of class representatives and class
        members are similar, except that some class representatives
        live in vehicles while other class members may live on
        streets or in parks, not vehicles. This does not defeat
        typicality. The class representatives with vehicles may
        violate the challenged ordinances in a different manner than
        some class members—i.e., by sleeping in their vehicle,
        rather than on the ground. But they challenge the same
        ordinances under the same constitutional provisions as other
        class members.         Cf. Staton, 327 F.3d at 957
        (“[R]epresentative claims are ‘typical’ if they are reasonably
        coextensive with those of absent class members; they need
        not be substantially identical.”) (citation omitted). The
        district court did not abuse its discretion in finding the
        typicality requirement met.

            The City does not present any other arguments regarding
        class certification, such as the propriety of certifying the
        class as an injunctive class under Rule 23(b)(2). We do not
        make arguments for parties and the arguments raised by the
        City regarding class certification fail.

                                      C.

            Having rejected the City’s jurisdictional arguments, as
        well as its arguments regarding class certification, the merits
        can be addressed. The City’s merits arguments regarding the
        Cruel and Unusual Punishment Clause take two forms. First,
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 35 of 86




                        JOHNSON V. CITY OF GRANTS PASS                           35

        the City argues its system of imposing civil fines cannot be
        challenged as violating the Cruel and Unusual Clause
        because that clause provides protection only in criminal
        proceedings, after an individual has been convicted. That is
        incorrect. Second, the City argues Martin does not protect
        homeless persons from being cited under the City’s amended
        anti-camping ordinance which prohibits use of any bedding
        or similar protection from the elements. The City appears to
        have conceded it cannot cite homeless persons merely for
        sleeping in public but the City maintains it is entitled to cite
        individuals for the use of rudimentary bedding supplies, such
        as a blanket, pillow, or sleeping bag “for bedding purposes.”
        See GPMC 5.61.010(B). Again, the City is incorrect. Here,
        we focus exclusively on the anti-camping ordinances.

            According to the City, citing individuals under the anti-
        camping ordinances cannot violate the Cruel and Unusual
        Punishment Clause because citations under the ordinances
        are civil and civil citations are “categorically not
        ‘punishment’ under the Eight Amendment.”25 The City
        explains “the simple act of issuing a civil citation with a
        court date [has never] been found to be unconstitutional
        ‘punishment’ under the Eighth Amendment.” While not
        entirely clear, the City appears to be arguing the Cruel and
        Unusual Punishment Clause provides no protection from




             25
                This position is in significant tension with the City’s actions taken
        immediately after Martin was issued. As noted earlier, the City amended
        its anti-camping ordinance “in direct response to Martin v. Boise” to
        allow for “the act of ‘sleeping’” in City parks. If the City believed
        Martin has no impact on civil ordinances, it is unclear why the City
        believed a curative “response” to Martin was necessary.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 36 of 86




        36             JOHNSON V. CITY OF GRANTS PASS

        citations categorized as “civil” by a governmental
        authority.26

            Plaintiffs’ focus on civil citations does involve an extra
        step from the normal Cruel and Unusual Clause analysis and
        the analysis of Martin. Usually, claims under the Cruel and
        Unusual Clause involve straightforward criminal charges.
        For example, the situation in Martin involved homeless
        persons allegedly violating criminal ordinances and the
        opinion identified its analysis as focusing on the “criminal”
        nature of the charges over ten times. 920 F.3d at 617. Here,
        the City has adopted a slightly more circuitous approach than

             26
                The primary support for this contention is Ingraham v. Wright,
        430 U.S. 651 (1977). In Ingraham, the Supreme Court addressed
        whether the Cruel and Unusual Punishment Clause was implicated by
        corporal punishment in public schools. The Court stated the Cruel and
        Unusual Punishment Clause limits “the criminal process in three ways:
        First, it limits the kinds of punishment that can be imposed on those
        convicted of crimes; second, it proscribes punishment grossly
        disproportionate to the severity of the crime; and third, it imposes
        substantive limits on what can be made criminal and punished as such.”
        Id. at 667. The Court interpreted the challenge to corporal punishment
        as, in effect, asserting arguments under only the first or second
        limitation. That is, the challenge was whether “the paddling of
        schoolchildren” was a permissible amount or type of punishment. Id.
        at 668. The Ingraham decision involved no analysis or discussion of the
        third limitation, i.e. the “substantive limits on what can be made
        criminal.” Id. at 667. Thus, it was in the context of evaluating the
        amount or type of punishment that Ingraham stated “Eighth Amendment
        scrutiny is appropriate only after the State has complied with the
        constitutional guarantees traditionally associated with criminal
        prosecutions.” Id. at 671 n.40. When, as here, plaintiffs are raising
        challenges to the “substantive limits on what can be made criminal,”
        Ingraham does not prohibit a challenge before a criminal conviction. See
        Martin, 920 F.3d at 614 (“Ingraham did not hold that a plaintiff
        challenging the state’s power to criminalize a particular status or conduct
        in the first instance, as the plaintiffs in this case do, must first be
        convicted.”).
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 37 of 86




                     JOHNSON V. CITY OF GRANTS PASS                37

        simply establishing violation of its ordinances as criminal
        offenses. Instead, the City issues civil citations under the
        ordinances. If an individual violates the ordinances twice,
        she can be issued a park exclusion order. And if the
        individual is found in a park after issuance of the park
        exclusion order, she is cited for criminal trespass. See
        O.R.S. 164.245 (criminal trespass in the second degree).
        Multiple City police officers explained in their depositions
        this sequence was the standard protocol. The holding in
        Martin cannot be so easily evaded.

            Martin held the Cruel and Unusual Punishment clause
        “prohibits the imposition of criminal penalties for sitting,
        sleeping, or lying outside on public property for homeless
        individuals who cannot obtain shelter.” 920 F.3d at 616. A
        local government cannot avoid this ruling by issuing civil
        citations that, later, become criminal offenses. A recent
        decision by the en banc Fourth Circuit illustrates how the
        Cruel and Unusual Punishment Clause looks to the eventual
        criminal penalty, even if there are preliminary civil steps.

            The disputes in Manning v. Caldwell for City of
        Roanoke, 930 F.3d 264 (4th Cir. 2019) (en banc) arose from
        a Virginia law which allowed a state court to issue a civil
        order identifying an individual as a “habitual drunkard.” Id.
        at 268. Once labeled a “habitual drunkard,” the individual
        was “subject to incarceration for the mere possession of or
        attempt to possess alcohol, or for being drunk in public.” Id.
        at 269. A group of homeless alcoholics filed suit claiming,
        among other theories, the “habitual drunkard” scheme
        violated the Cruel and Unusual Punishment Clause. In the
        plaintiffs’ view, the scheme resulted in criminal prosecutions
        based on their “status,” i.e. alcoholism. See id. at 281.

           Using reasoning very similar to that in Martin, the Fourth
        Circuit found the statutory scheme unconstitutional because
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 38 of 86




        38           JOHNSON V. CITY OF GRANTS PASS

        it provided punishment based on the plaintiffs’ status. Of
        particular relevance here, the Fourth Circuit reasoned the
        fact that Virginia’s “scheme operate[d] in two steps” did not
        change the analysis. Id. 283. Issuing a civil order first,
        followed by a criminal charge, was a “two-pronged statutory
        scheme” potentially “less direct” than straightforwardly
        criminalizing the status of alcohol addiction. Id. But the
        scheme remained unconstitutional because it “effectively
        criminalize[d] an illness.” Id. The fact that Virginia “civilly
        brands alcoholics as ‘habitual drunkards’ before prosecuting
        them for involuntary manifestations of their illness does
        nothing to cure the unconstitutionality of this statutory
        scheme.” Id.

            The same reasoning applies here. The anti-camping
        ordinances prohibit Plaintiffs from engaging in activity they
        cannot avoid. The civil citations issued for behavior
        Plaintiffs cannot avoid are then followed by a civil park
        exclusion order and, eventually, prosecutions for criminal
        trespass. Imposing a few extra steps before criminalizing the
        very acts Martin explicitly says cannot be criminalized does
        not cure the anti-camping ordinances’ Eighth Amendment
        infirmity.

            The City offers a second way to evade the holding in
        Martin. According to the City, it revised its anti-camping
        ordinances to allow homeless persons to sleep in City parks.
        However, the City’s argument regarding the revised anti-
        camping ordinance is an illusion. The amended ordinance
        continues to prohibit homeless persons from using “bedding,
        sleeping bag, or other material used for bedding purposes,”
        or using stoves, lighting fires, or erecting structures of any
        kind. GPMC 5.61.010. The City claims homeless persons
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 39 of 86




                       JOHNSON V. CITY OF GRANTS PASS                         39

        are free to sleep in City parks, but only without items
        necessary to facilitate sleeping outdoors.27

            The discrepancy between sleeping without bedding
        materials, which is permitted under the anti-camping
        ordinances, and sleeping with bedding, which is not, is
        intended to distinguish the anti-camping ordinances from
        Martin and the two Supreme Court precedents underlying
        Martin, Robinson v. California, 370 U.S. 660 (1962) and
        Powell v. Texas, 392 U.S. 514 (1968). Under those cases, a
        person may not be prosecuted for conduct that is involuntary
        or the product of a “status.” See Martin, 920 F.3d at 617
        (citation omitted). The City accordingly argues that sleeping
        is involuntary conduct for a homeless person, but that
        homeless persons can choose to sleep without bedding
        materials and therefore can be prosecuted for sleeping with
        bedding.

            In its order granting summary judgment, the district
        court correctly concluded the anti-camping ordinances
        violated the Cruel and Unusual Punishment Clause to the
        extent they prohibited homeless persons from “taking
        necessary minimal measures to keep themselves warm and
        dry while sleeping when there are no alternative forms of
        shelter available.” The only plausible reading of Martin is

            27
                The Grants Pass ordinance does not specifically define “bedding”
        but courts give the words of a statute or ordinance their “ordinary,
        contemporary, common meaning” absent an indication to the contrary
        from the legislature. See Williams v. Taylor, 529 U.S. 420, 431 (2000)
        (citation omitted). The Oxford English Dictionary defines “bedding” as
        “[a] collective term for the articles which compose a bed.” OXFORD
        ENGLISH DICTIONARY. And “bed” is defined as “a place for sleeping.”
        MERRIAM-WEBSTER COLLEGIATE DICTIONARY 108 (11th ed.). The
        City’s effort to dissociate the use of bedding from the act of sleeping or
        protection from the elements is nonsensical.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 40 of 86




        40             JOHNSON V. CITY OF GRANTS PASS

        that it applies to the act of “sleeping” in public, including
        articles necessary to facilitate sleep. In fact, Martin
        expressed concern regarding a citation given to a woman
        who had been found sleeping on the ground, wrapped in
        blankets. 920 F.3d at 618. Martin noted that citation as an
        example of the anti-camping ordinance being “enforced
        against homeless individuals who take even the most
        rudimentary precautions to protect themselves from the
        elements.”      Id.    Martin deemed such enforcement
        unconstitutional. Id. It follows that the City cannot enforce
        its anti-camping ordinances to the extent they prohibit “the
        most rudimentary precautions” a homeless person might
        take against the elements.28 The City’s position that it is
        entitled to enforce a complete prohibition on “bedding,
        sleeping bag, or other material used for bedding purposes” is
        incorrect.

            The dissent claims we have misread Martin by
        “completely disregard[ing] the Powell opinions on which
        Martin relied, which make unmistakably clear that an
        individualized showing of involuntariness is required.”
        Dissent 75. The dissent concedes that pursuant to Martin,
        the City cannot impose criminal penalties on involuntarily
        homeless individuals for sitting, sleeping, or lying outside on
        public property. Dissent 56. Thus, our purported “complete
        disregard[ ]” for Martin is not regarding the central holding
        that local governments may not criminalize involuntary
        conduct. Rather, the dissent believes, based on its

             28
                Grants Pass is cold in the winter. The evidence in the record
        establishes that homeless persons in Grants Pass have struggled against
        frostbite. Faced with spending every minute of the day and night
        outdoors, the choice to use rudimentary protection of bedding to protect
        against snow, frost, or rain is not volitional; it is a life-preserving
        imperative.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 41 of 86




                     JOHNSON V. CITY OF GRANTS PASS                 41

        interpretation of the Supreme Court opinions underlying
        Martin, that the Eighth Amendment provides only “a case-
        specific affirmative defense” that can never be litigated on a
        class basis. Dissent 71. To reach this counterintuitive
        conclusion, the dissent reads limitations into Robinson,
        Powell, and Martin that are nonexistent.

            In Robinson, the Supreme Court struck down, under the
        Eighth Amendment, a California law that made “it a criminal
        offense for a person to ‘be addicted to the use of narcotics.’”
        Robinson, 370 U.S. at 666. The law was unconstitutional,
        the Court explained, because it rendered the defendant
        “continuously guilty of this offense, whether or not he has
        ever used or possessed any narcotics within the State.” Id.

            Six years later, in Powell, the Court divided 4-1-4 over
        whether Texas violated the Eighth Amendment under
        Robinson by prosecuting an alcoholic for public
        drunkenness. In a plurality opinion, Justice Marshall upheld
        the conviction of Leroy Powell on the ground that he was not
        punished on the basis of his status as an alcoholic, but rather
        for the actus reus of being drunk in public. Powell, 392 U.S.
        at 535. Four justices dissented, in an opinion by Justice
        Fortas, on the ground that the findings made by the trial
        judge—that Powell was a chronic alcoholic who could not
        resist the impulse to drink—compelled the conclusion that
        Powell’s prosecution violated the Eighth Amendment
        because Powell could not avoid breaking the law. Id. at 569–
        70 (Fortas, J., dissenting). Justice White concurred in the
        judgment. He stressed, “[i]f it cannot be a crime to have an
        irresistible compulsion to use narcotics, I do not see how it
        can constitutionally be a crime to yield to such a
        compulsion.” Id. at 549 (White, J., concurring). However,
        the reason for Justice White’s concurrence was that he felt
        Powell failed to prove his status as an alcoholic compelled
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 42 of 86




        42             JOHNSON V. CITY OF GRANTS PASS

        him to violate the law by appearing in public. Id. at 553
        (White, J., concurring).

            Pursuant to Marks v. United States, 430 U.S. 188 (1977),
        the narrowest position which gained the support of five
        justices is treated as the holding of the Court. In identifying
        that position, Martin held: “five Justices [in Powell] gleaned
        from Robinson the principle that ‘that the Eighth
        Amendment prohibits the state from punishing an
        involuntary act or condition if it is the unavoidable
        consequence of one’s status or being.’” Martin, 920 F.3d at
        616 (quoting Jones, 443 F.3d at 1135). Martin did not—as
        the dissent alleges—hold that Powell’s “controlling opinion
        was Justice White’s concurrence.” Dissent 54. See id.,
        920 F.3d at 616–17. It would have violated the rule of Marks
        to adopt portions of Justice White’s concurrence that did not
        receive the support of five justices. The dissent claims
        Justice White’s concurrence requires that the individual
        claiming a status must prove the status compels the
        individual to violate the law—here, that each homeless
        individual must prove their status as an involuntarily
        homeless person to avoid prosecution.29 Dissent 53–56. The


             29
               The dissent’s attempt to create a governing holding out of Justice
        White’s concurrence is erroneous. By citing a word or two out of context
        in the Powell dissenting opinion (e.g., “constitutional defense”) our
        dissenting colleague argues both Justice White and the dissenting
        justices in Powell agreed any person subject to prosecution has, at most,
        “a case-specific affirmative ‘defense.’” Dissent 53, 71. We disagree.
        Though status was litigated as a defense in the context of Leroy Powell’s
        prosecution, no opinion in Powell held status may be raised only as a
        defense. The Powell plurality noted trial court evidence that Leroy
        Powell was an alcoholic, but that opinion contains no indication “status”
        may only be invoked as “a case-specific affirmative ‘defense.’” As for
        Justice White, the opening paragraph of his concurrence indicates he was
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 43 of 86




                       JOHNSON V. CITY OF GRANTS PASS                         43

        dissent claims this renders class action litigation
        inappropriate. But no opinion in either Powell or Martin
        discussed the propriety of litigating the constitutionality of
        such criminal statutes by way of a class action.30



        primarily concerned not with how a status must be invoked but with the
        fact that certain statuses should be beyond the reach of the criminal law:

                 If it cannot be a crime to have an irresistible
                 compulsion to use narcotics, I do not see how it can
                 constitutionally be a crime to yield to such a
                 compulsion. Punishing an addict for using drugs
                 convicts for addiction under a different name.
                 Distinguishing between the two crimes is like
                 forbidding criminal conviction for being sick with flu
                 or epilepsy but permitting punishment for running a
                 fever or having a convulsion. Unless Robinson is to be
                 abandoned, the use of narcotics by an addict must be
                 beyond the reach of the criminal law. Similarly, the
                 chronic alcoholic with an irresistible urge to consume
                 alcohol should not be punishable for drinking or for
                 being drunk.

        Powell, 392 U.S. at 548–49 (White, J., concurring) (internal citation
        omitted). Finally, neither the remainder of Justice White’s concurrence
        nor the dissenting opinion explicitly indicates one’s status may only be
        invoked as a defense. Rather, Justice White and the dissenters simply
        agreed that, if Powell’s status made his public intoxication involuntary,
        he could not be prosecuted. There is no conceivable way to interpret
        Martin as adopting our dissenting colleague’s position that one’s status
        must be invoked as a defense. But even assuming the burden must be
        placed on the party wishing to invoke a status, the class representatives
        established there is no genuine dispute of material fact they have the
        relevant status of being involuntarily homeless.

            30
               Federal courts have certified classes of homeless plaintiffs in the
        past, see supra note 18, which counsels against the City’s and the
        dissent’s position that such classes are impermissible under Rule 23.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 44 of 86




        44              JOHNSON V. CITY OF GRANTS PASS

             The law that the dissent purports to unearth in Justice
        White’s concurrence is not the “narrowest ground” which
        received the support of five justices. No opinion in Powell
        or Martin supports the dissent’s assertion that Powell offers
        exclusively an “affirmative ‘defense’” that cannot be
        litigated in a class action.31 Dissent 53, 71. Although the
        dissent might prefer that these principles find support in the
        controlling law, they do not. We thus do not misread Martin
        by failing to apply the principles found solely in Justice
        White’s concurrence. Rather, we adhere to the narrow
        holding of Martin adopting the narrowest ground shared by
        five justices in Powell: a person cannot be prosecuted for
        involuntary conduct if it is an unavoidable consequence of
        one’s status.

            In addition to erecting an absolute bar to class litigation
        of this sort, the dissent would also impose artificial
        limitations on claims brought pursuant to Martin. The
        dissent concedes Gloria Johnson has standing to bring
        individual challenges to most of the City’s ordinances. But
        the dissent then speculates that Gloria Johnson may, in fact,
        not be involuntarily homeless in the City. The dissent would
        insist that Gloria Johnson, for example, leave the City to

             31
                As noted above, Martin did not hold homeless persons bear the
        burden of demonstrating they are involuntarily homeless. See supra note
        29. Because the record plainly demonstrates Plaintiffs are involuntarily
        homeless, there similarly is no reason for us to determine what showing
        would be required. We note, however, that some district courts have
        addressed circumstances in which the question of burden was somewhat
        relevant. See, e.g., McArdle, 519 F.Supp.3d at 1052 (requiring, based in
        part on Martin, that officers inquire into the availability of shelter space
        before making an arrest for violation of the City’s “open lodging”
        ordinance); Butcher v. City of Marysville, 2019 WL 918203, at *7 (E.D.
        Cal. Feb. 25, 2019) (holding plaintiffs failed to make the “threshold
        showing” of pleading that there was no shelter capacity and that they had
        no other housing at the time of enforcement).
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 45 of 86




                       JOHNSON V. CITY OF GRANTS PASS                        45

        camp illegally on federal or state lands, provide the court an
        accounting of her finances and employment history, and
        indicate with specificity where she lived before she lost her
        job and her home. Dissent 78–80. There, of course, exists
        no law or rule requiring a homeless person to do any of these
        things. Gloria Johnson has adequately demonstrated that
        there is no available shelter in Grants Pass and that she is
        involuntarily homeless.

            The undisputed evidence establishes Gloria Johnson is
        involuntarily homeless and there is undisputed evidence
        showing many other individuals in similar situations. It is
        undisputed that there are at least around 50 involuntarily
        homeless persons in Grants Pass, and PIT counts, which
        Martin relied on to establish the number of homeless persons
        in Boise, revealed more than 600. See Martin, 920 F.3d
        at 604. It is undisputed that there is no secular shelter space
        available to adults. Many class members, including the class
        representatives, have sworn they are homeless and the City
        has not contested those declarations. The dissent claims this
        showing is not enough, implying that Plaintiffs must meet an
        extremely high standard to show they are involuntarily
        homeless. Even viewed in the light most favorable to the
        City, there is no dispute of material fact that the City is home
        to many involuntarily homeless individuals, including the
        class representatives. In fact, neither the City nor the dissent
        has demonstrated there is even one voluntarily homeless
        individual living in the City.32 In light of the undisputed
            32
                The dissent claims we have “shifted the burden to the City to
        establish the voluntariness of the behavior targeted by the ordinances.”
        Dissent 80 n.13 (emphasis omitted). To the contrary, as we have
        explained, we do not decide who would bear such a burden because
        undisputed evidence demonstrates Plaintiffs are involuntarily homeless.
        Rather, without deciding who would bear such a burden if
        involuntariness were subject to serious dispute, we note Plaintiffs have
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 46 of 86




        46             JOHNSON V. CITY OF GRANTS PASS

        facts in the record underlying the district court’s summary
        judgment ruling that show Plaintiffs are involuntarily
        homeless, and the complete absence of evidence that
        Plaintiffs are voluntarily homeless, we agree with the district
        court that Plaintiffs such as Gloria Johnson are not
        voluntarily homeless and that the anti-camping ordinances
        are unconstitutional as applied to them unless there is some
        place, such as shelter, they can lawfully sleep.33




        demonstrated involuntariness and there is no evidence in the record
        showing any class member has adequate alternative shelter.

             33
                 Following Martin, several district courts have held that the
        government may evict or punish sleeping in public in some locations,
        provided there are other lawful places within the jurisdiction for
        involuntarily homeless individuals to sleep. See, e.g., Shipp v. Schaaf,
        379 F.Supp.3d 1033, 1037 (N.D. Cal. 2019) (“However, even assuming
        (as Plaintiffs do) that [eviction from a homeless encampment by citation
        or arrest] might occur, remaining at a particular encampment on public
        property is not conduct protected by Martin, especially where the closure
        is temporary in nature.”); Aitken v. City of Aberdeen, 393 F.Supp.3d
        1075, 1082 (W.D. Wash. 2019) (“Martin does not limit the City’s ability
        to evict homeless individuals from particular public places.”); Gomes v.
        Cty. of Kauai, 481 F.Supp.3d 1104, 1109 (D. Haw. 2020) (holding the
        County of Kauai could prohibit sleeping in a public park because it had
        not prohibited sleeping on other public lands); Miralle v. City of
        Oakland, 2018 WL 6199929, at *2 (N.D. Cal. Nov. 28, 2018) (holding
        the City could clear out a specific homeless encampment because
        “Martin does not establish a constitutional right to occupy public
        property indefinitely at Plaintiffs’ option”); Le Van Hung v. Schaaf, 2019
        WL 1779584, at *5 (N.D. Cal. Apr. 23, 2019) (holding Martin does not
        “create a right for homeless residents to occupy indefinitely any public
        space of their choosing”). Because the City has not established any
        realistically available place within the jurisdiction for involuntarily
        homeless individuals to sleep we need not decide whether alternate
        outdoor space would be sufficient under Martin. The district court may
        consider this issue on remand, if it is germane to do so.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 47 of 86




                        JOHNSON V. CITY OF GRANTS PASS                           47

            Our holding that the City’s interpretation of the anti-
        camping ordinances is counter to Martin is not to be
        interpreted to hold that the anti-camping ordinances were
        properly enjoined in their entirety. Beyond prohibiting
        bedding, the ordinances also prohibit the use of stoves or
        fires, as well as the erection of any structures. The record
        has not established the fire, stove, and structure prohibitions
        deprive homeless persons of sleep or “the most rudimentary
        precautions” against the elements.34 Moreover, the record
        does not explain the City’s interest in these prohibitions.35
        Consistent with Martin, these prohibitions may or may not
        be permissible. On remand, the district court will be
        required to craft a narrower injunction recognizing
        Plaintiffs’ limited right to protection against the elements, as
        well as limitations when a shelter bed is available.36



            34
              The dissent claims we establish “the right to use (at least) a tent.”
        Dissent 82 n.15. This assertion is obviously false. The district court’s
        holding that the City may still “ban the use of tents in public parks”
        remains undisturbed by our opinion.

             35
                The dissent asserts, “it is hard to deny that Martin has ‘generate[d]
        dire practical consequences for the hundreds of local governments within
        our jurisdiction, and for the millions of people that reside therein.’”
        Dissent 85 (quoting Martin, 920 F.3d at 594 (M. Smith, J., dissenting
        from denial of rehearing en banc)) (modification in original). There are
        no facts in the record to establish that Martin has generated “dire”
        consequences for the City. Our review of this case is governed only by
        the evidence contained in the record.

             36
                The district court enjoined the park exclusion ordinance in its
        entirety. The parties do not address this in their appellate briefing but,
        on remand, the district court should consider narrowing this portion as
        well because the park exclusion ordinance presumably may be enforced
        against Plaintiffs who engage in prohibited activity unrelated to their
        status as homeless persons.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 48 of 86




        48           JOHNSON V. CITY OF GRANTS PASS

                                      D.

            The district court concluded the fines imposed under the
        anti-sleeping and anti-camping ordinances violated the
        Eighth Amendment’s prohibition on excessive fines. A
        central portion of the district court’s analysis regarding these
        fines was that they were based on conduct “beyond what the
        City may constitutionally punish.” With this in mind, the
        district court noted “[a]ny fine [would be] excessive” for the
        conduct at issue.

            The City presents no meaningful argument on appeal
        regarding the excessive fines issue. As for Plaintiffs, they
        argue the fines at issue were properly deemed excessive
        because they were imposed for “engaging in involuntary,
        unavoidable life sustaining acts.” The permanent injunction
        will result in no class member being fined for engaging in
        such protected activity. Because no fines will be imposed
        for protected activity, there is no need for us to address
        whether hypothetical fines would be excessive.

                                      E.

            The final issue is whether Plaintiffs properly pled their
        challenge to the park exclusion appeals ordinance. GPMC
        6.46.355. That ordinance provided a mechanism whereby
        an individual who received an exclusion order could appeal
        to the City Council. Subsequent to the district court’s order,
        the City amended its park exclusion appeals ordinance.
        Therefore, the district court’s determination the previous
        ordinance violated Plaintiffs’ procedural due process rights
        has no prospective relevance. Because of this, we need not
        decide if Plaintiffs adequately pled their challenge to the
        previous ordinance.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 49 of 86




                     JOHNSON V. CITY OF GRANTS PASS                  49

                                      III.

            We affirm the district court’s ruling that the City of
        Grants Pass cannot, consistent with the Eighth Amendment,
        enforce its anti-camping ordinances against homeless
        persons for the mere act of sleeping outside with
        rudimentary protection from the elements, or for sleeping in
        their car at night, when there is no other place in the City for
        them to go. On remand, however, the district court must
        narrow its injunction to enjoin only those portions of the
        anti-camping ordinances that prohibit conduct protected by
        Martin and this opinion. In particular, the district court
        should narrow its injunction to the anti-camping ordinances
        and enjoin enforcement of those ordinances only against
        involuntarily homeless person for engaging in conduct
        necessary to protect themselves from the elements when
        there is no shelter space available. Finally, the district court
        on remand should consider whether there is an adequate
        representative who may be substituted for Debra Blake.

            We are careful to note that, as in Martin, our decision is
        narrow.     As in Martin, we hold simply that it is
        “unconstitutional to [punish] simply sleeping somewhere in
        public if one has nowhere else to do so.” Martin, 920 F.3d
        at 590 (Berzon, J., concurring in denial of rehearing en
        banc). Our decision reaches beyond Martin slightly. We
        hold, where Martin did not, that class certification is not
        categorically impermissible in cases such as this, that
        “sleeping” in the context of Martin includes sleeping with
        rudimentary forms of protection from the elements, and that
        Martin applies to civil citations where, as here, the civil and
        criminal punishments are closely intertwined. Our decision
        does not address a regime of purely civil infractions, nor
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 50 of 86




        50             JOHNSON V. CITY OF GRANTS PASS

        does it prohibit the City from attempting other solutions to
        the homelessness issue.

          AFFIRMED IN PART, VACATED IN PART, AND
        REMANDED.



        COLLINS, Circuit Judge, dissenting:

            In Martin v. City of Boise, 920 F.3d 584 (9th Cir. 2019),
        we held that “the Eighth Amendment’s prohibition on cruel
        and unusual punishment bars a city from prosecuting people
        criminally for sleeping outside on public property when
        those people have no home or other shelter to go to.” Id.
        at 603. Even assuming that Martin remains good law,
        today’s decision—which both misreads and greatly expands
        Martin’s holding—is egregiously wrong. To make things
        worse, the majority opinion then combines its gross
        misreading of Martin with a flagrant disregard of settled
        class-certification principles. The end result of this
        amalgamation of error is that the majority validates the core
        aspects of the district court’s extraordinary injunction in this
        case, which effectively requires the City of Grants Pass to
        allow all but one of its public parks to be used as homeless
        encampments.1 I respectfully dissent.




             1
               The majority’s decision is all the more troubling because, in truth,
        the foundation on which it is built is deeply flawed: Martin seriously
        misconstrued the Eighth Amendment and the Supreme Court’s caselaw
        construing it. See infra at 83–85. But I am bound by Martin, and—
        unlike the majority—I faithfully apply it here.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 51 of 86




                     JOHNSON V. CITY OF GRANTS PASS                 51

                                      I

            Because our opinion in Martin frames the issues here, I
        begin with a detailed overview of that decision before
        turning to the facts of the case before us.

                                      A

            In Martin, six individuals sued the City of Boise, Idaho,
        under 42 U.S.C. § 1983, alleging that the City had violated
        their Eighth Amendment rights in enforcing two ordinances
        that respectively barred, inter alia, (1) camping in public
        spaces and (2) sleeping in public places without permission.
        920 F.3d at 603–04, 606. All six plaintiffs had been
        convicted of violating at least one of the ordinances, id.
        at 606, but we held that claims for retrospective relief based
        on those convictions were barred by the doctrine of Heck v.
        Humphrey, 512 U.S. 477 (1994). See Martin, 920 F.3d
        at 611–12 (noting that, under Heck, a § 1983 action may not
        be maintained if success in the suit would necessarily show
        the invalidity of the plaintiff’s criminal conviction, unless
        that conviction has already been set aside or invalidated).
        What remained, after application of the Heck bar, were the
        claims for retrospective relief asserted by two plaintiffs
        (Robert Martin and Pamela Hawkes) in connection with
        citations they had received that did not result in convictions,
        and the claims for prospective injunctive and declaratory
        relief asserted by Martin and one additional plaintiff (Robert
        Anderson). Id. at 604, 610, 613–15; see also id. at 618–20
        (Owens, J., dissenting in part) (dissenting from the
        majority’s holding that the prospective relief claims survived
        Heck). On the merits of those three plaintiffs’ Eighth
        Amendment claims, the Martin panel held that the district
        court had erred in granting summary judgment for the City.
        Id. at 615–18.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 52 of 86




        52           JOHNSON V. CITY OF GRANTS PASS

            Although the text of the Eighth Amendment’s Cruel and
        Unusual Punishments Clause states only that “cruel and
        unusual punishments” shall not be “inflicted,” U.S. CONST.,
        amend. VIII (emphasis added), the Martin panel nonetheless
        held that the Clause “places substantive limits” on the
        government’s ability to criminalize “sitting, sleeping, or
        lying outside on public property,” 920 F.3d at 615–16. In
        reaching this conclusion, the Martin panel placed dispositive
        reliance on the Supreme Court’s decisions in Robinson v.
        California, 370 U.S. 660 (1962), and Powell v. Texas,
        392 U.S. 514 (1968). I therefore briefly review those two
        decisions before returning to Martin.

            Robinson held that a California law that made “it a
        criminal offense for a person to ‘be addicted to the use of
        narcotics,’” 370 U.S. at 660 (quoting CAL. HEALTH &
        SAFETY CODE § 11721 (1957 ed.)), and that did so “even
        though [the person] has never touched any narcotic drug
        within the State or been guilty of any irregular behavior
        there, inflicts a cruel and unusual punishment in violation of
        the Fourteenth Amendment,” id. at 667. The California
        statute, the Court emphasized, made the “‘status’ of narcotic
        addiction a criminal offense,” regardless of whether the
        defendant had “ever used or possessed any narcotics within
        the State” or had “been guilty of any antisocial behavior
        there.” Id. at 666 (emphasis added).

            In Powell, a fractured Supreme Court rejected Powell’s
        challenge to his conviction, under a Texas statute, for being
        “found in a state of intoxication in any public place.”
        392 U.S. at 517 (quoting TEX. PENAL CODE art. 477 (1952)).
        A four-Justice plurality distinguished Robinson on the
        ground that, because Powell “was convicted, not for being a
        chronic alcoholic, but for being in public while drunk on a
        particular occasion,” Texas had “not sought to punish a mere
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 53 of 86




                     JOHNSON V. CITY OF GRANTS PASS                 53

        status, as California did in Robinson.” Id. at 532 (plurality).
        The plurality held that Robinson did not address, much less
        establish, that “certain conduct cannot constitutionally be
        punished because it is, in some sense, ‘involuntary’ or
        ‘occasioned by a compulsion.’” Id. at 533 (emphasis added).

            Justice White concurred in the judgment on the narrower
        ground that Powell had failed to establish the “prerequisites
        to the possible invocation of the Eighth Amendment,” which
        would have required him to “satisfactorily show[] that it was
        not feasible for him to have made arrangements to prevent
        his being in public when drunk and that his extreme
        drunkenness sufficiently deprived him of his faculties on the
        occasion in issue.” Id. at 552 (White, J., concurring). And
        because, in Justice White’s view, the Eighth Amendment at
        most provided a case-specific affirmative “defense” to
        application of the statute, id. at 552 n.4, he agreed that the
        Texas statute was “constitutional insofar as it authorizes a
        police officer to arrest any seriously intoxicated person
        when he is encountered in a public place,” id. at 554 n.5
        (emphasis added). Emphasizing that Powell himself “did
        not show that his conviction offended the Constitution” and
        that Powell had “made no showing that he was unable to stay
        off the streets on the night in question,” Justice White
        concurred in the majority’s affirmance of Powell’s
        conviction. Id. at 554 (emphasis added).

             The four dissenting Justices in Powell agreed that the
        Texas statute “differ[ed] from that in Robinson” inasmuch as
        it “covers more than a mere status.” 392 U.S. at 567 (Fortas,
        J., dissenting). There was, as the dissenters noted, “no
        challenge here to the validity of public intoxication statutes
        in general or to the Texas public intoxication statute in
        particular.” Id. at 558. Indeed, the dissenters agreed that, in
        the ordinary case “when the State proves such [public]
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 54 of 86




        54             JOHNSON V. CITY OF GRANTS PASS

        presence in a state of intoxication, this will be sufficient for
        conviction, and the punishment prescribed by the State may,
        of course, be validly imposed.” Id. at 569. Instead, the
        dissenters concluded that the application of the statute to
        Powell was unconstitutional “on the occasion in question”
        in light of the Texas trial court’s findings about Powell’s
        inability to control his condition. Id. at 568 n.31 (emphasis
        added). Those findings concerning Powell’s “constitutional
        defense,” the dissenters concluded, established that Powell
        “was powerless to avoid drinking” and “that, once
        intoxicated, he could not prevent himself from appearing in
        public places.” Id. at 558, 568; see also id. at 525 (plurality)
        (describing the elements of the “constitutional defense” that
        Powell sought to have the Court recognize).

            While acknowledging that the plurality in Powell had
        “interpret[ed] Robinson as precluding only the
        criminalization of ‘status,’ not of ‘involuntary’ conduct,” the
        Martin panel held that the controlling opinion was Justice
        White’s concurrence. 920 F.3d at 616. As I have noted,
        Justice White concluded that the Texas statute against public
        drunkenness could constitutionally be applied, even to an
        alcoholic, if the defendant failed to “satisfactorily show[]
        that it was not feasible for him to have made arrangements
        to prevent his being in public when drunk and that his
        extreme drunkenness sufficiently deprived him of his
        faculties on the occasion in issue.” Powell, 392 U.S. at 552
        (White, J., concurring).2 Under Marks v. United States,

             2
               Justice White, however, did not resolve the further question of
        whether, if such a showing had been made, the Eighth Amendment
        would have been violated. He stated that the Eighth Amendment “might
        bar conviction” in such circumstances, but he found it “unnecessary” to
        decide whether that “novel construction of that Amendment” was
        ultimately correct. 392 U.S. at 552–53 & n.4 (emphasis added).
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 55 of 86




                     JOHNSON V. CITY OF GRANTS PASS                 55

        430 U.S. 188 (1977), this narrower reasoning given by
        Justice White for joining the Powell majority’s judgment
        upholding the conviction constitutes the Court’s holding in
        that case. See id. at 193 (“When a fragmented Court decides
        a case and no single rationale explaining the result enjoys the
        assent of five Justices, ‘the holding of the Court may be
        viewed as that position taken by those Members who
        concurred in the judgments on the narrowest grounds.’”
        (citation omitted)); see also United States v. Moore, 486 F.2d
        1139, 1151 (D.C. Cir. 1973) (en banc) (Wilkey, J.,
        concurring) (concluding that the judgment in Powell rested
        on the overlap in the views of “four members of the Court”
        who held that Powell’s acts of public drunkenness “were
        punishable without question” and the view of Justice White
        that Powell’s acts “were punishable so long as the acts had
        not been proved to be the product of an established
        irresistible compulsion”).

            The Martin panel quoted dicta in Justice White’s
        concurrence suggesting that, if the defendant could make the
        requisite “showing” that “resisting drunkenness is
        impossible and that avoiding public places when intoxicated
        is also impossible,” then the Texas statute “[a]s applied” to
        such persons might violate “the Eighth Amendment.”
        920 F.3d at 616 (quoting Powell, 392 U.S. at 551 (White, J.,
        concurring)). These dicta, Martin noted, overlapped with
        similar statements in the dissenting opinion in Powell, and
        from those two opinions, the Martin panel derived the
        proposition that “five Justices” had endorsed the view that
        “the Eighth Amendment prohibits the state from punishing
        an involuntary act or condition if it is the unavoidable
        consequence of one’s status or being.” Id. (citation omitted).
        Applying that principle, Martin held that “the Eighth
        Amendment prohibits the imposition of criminal penalties
        for sitting, sleeping, or lying outside on public property for
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 56 of 86




        56           JOHNSON V. CITY OF GRANTS PASS

        homeless individuals who cannot obtain shelter.” Id.
        Because “human beings are biologically compelled to rest,
        whether by sitting, lying, or sleeping,” Martin held that
        prohibitions on such activities in public cannot be applied to
        those who simply have “no option of sleeping indoors.” Id.
        at 617.

            The Martin panel emphasized that its “holding is a
        narrow one.” Id. Martin recognized that, if there are
        sufficient available shelter beds for all homeless persons
        within a jurisdiction, then of course there can be no Eighth
        Amendment impediment to enforcing laws against sleeping
        and camping in public, because those persons engaging in
        such activities cannot be said to have “no option of sleeping
        indoors.” Id. But “so long as there is a greater number of
        homeless individuals in a jurisdiction than the number of
        available beds in shelters, the jurisdiction cannot prosecute
        homeless individuals for involuntarily sitting, lying, and
        sleeping in public.” Id. (simplified) (emphasis added).
        Consistent with Justice White’s concurrence, the Martin
        panel emphasized that, in determining whether the defendant
        was being punished for conduct that was “involuntary and
        inseparable from status,” id. (citation omitted), the specific
        individual circumstances of the defendant must be
        considered. Thus, Martin explained, the panel’s “holding
        does not cover individuals who do have access to adequate
        temporary shelter, whether because they have the means to
        pay for it or because it is realistically available to them for
        free, but who choose not to use it.” Id. at 617 n.8. But
        Martin held that, where it is shown that homeless persons
        “do not have a single place where they can lawfully be,” an
        ordinance against sleeping or camping in public, “as applied
        to them, effectively punish[es] them for something for which
        they may not be convicted under the Eighth Amendment.”
        Id. at 617 (simplified). Concluding that the remaining
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 57 of 86




                     JOHNSON V. CITY OF GRANTS PASS                  57

        plaintiffs had “demonstrated a genuine issue of material
        fact” as to their lack of any access to indoor shelter, Martin
        reversed the district court’s grant of summary judgment to
        the City. Id. at 617 n.9; see also id. at 617–18.

                                       B

            With that backdrop in place, I turn to the specific facts of
        this case.

            In the operative Third Amended Complaint, named
        Plaintiffs Debra Blake, Gloria Johnson, and John Logan
        sought to represent a putative class of “all involuntarily
        homeless people living in Grants Pass, Oregon” in pursuing
        a variety of claims under 42 U.S.C. § 1983 against the City
        of Grants Pass. In particular, they asserted that the following
        three sections of the Grants Pass Municipal Code
        (“GPMC”), which generally prohibited sleeping and
        camping in public, violated the Eighth Amendment’s Cruel
        and Unusual Punishments Clause and its Excessive Fines
        Clause:

               5.61.020 Sleeping on Sidewalks, Streets,
               Alleys, or Within Doorways Prohibited

                   A. No person may sleep on public
                   sidewalks, streets, or alleyways at any
                   time as a matter of individual and public
                   safety.

                   B. No person may sleep in any pedestrian
                   or vehicular entrance to public or private
                   property abutting a public sidewalk.

                   C. In addition to any other remedy
                   provided by law, any person found in
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 58 of 86




        58           JOHNSON V. CITY OF GRANTS PASS

                    violation of this section may be
                    immediately removed from the premises.

                 5.61.030 Camping Prohibited

                    No person may occupy a campsite in or
                    upon any sidewalk, street, alley, lane,
                    public right of way, park, bench, or any
                    other publicly-owned property or under
                    any bridge or viaduct, [subject to
                    specified exceptions].3

                 6.46.090 Camping in Parks

                    A. It is unlawful for any person to camp,
                    as defined in GPMC Title 5, within the
                    boundaries of the City parks.

                    B. Overnight parking of vehicles shall be
                    unlawful. For the purposes of this
                    section, anyone who parks or leaves a
                    vehicle parked for two consecutive hours
                    or who remains within one of the parks as
                    herein defined for purposes of camping as
                    defined in this section for two
                    consecutive hours, without permission
                    from the City Council, between the hours
                    of midnight and 6:00 a.m. shall be
                    considered in violation of this Chapter.



             3
              The definition of “campsite” for purposes of GPMC 5.61.030
        includes using a “vehicle” as a temporary place to live. See GPMC
        5.61.010(B).
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 59 of 86




                      JOHNSON V. CITY OF GRANTS PASS                       59

           Plaintiffs’ complaint also challenged the following “park
        exclusion” ordinance as a violation of their “Eighth and
        Fourteenth Amendment rights”:

                6.46.350 Temporary Exclusion from City
                Park Properties

                    An individual may be issued a written
                    exclusion order by a police officer of the
                    Public Safety Department barring said
                    individual from all City Park properties
                    for a period of 30 days, if within a one-
                    year period the individual:

                         A. Is issued 2 or more citations for
                         violating regulations related to City
                         park properties, or

                         B. Is issued one or more citations for
                         violating any state law(s) while on
                         City park property.4



             4
               This latter ordinance was amended in September 2020 to read as
        follows:

                An individual may be issued a written exclusion order
                by a police officer of the Public Safety Department
                barring said individual from a City park for a period of
                30 days, if within a one-year period the individual:

                    A. Is issued two or more citations in the same City
                    park for violating regulations related to City park
                    properties, or
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 60 of 86




        60              JOHNSON V. CITY OF GRANTS PASS

            In an August 2019 order, the district court certified a
        class seeking declaratory and injunctive relief with respect
        to Plaintiffs’ Eighth Amendment claims, pursuant to Federal
        Rule of Civil Procedure 23(b)(2).5 As defined in the court’s
        order, the class consists of “[a]ll involuntarily homeless
        individuals living in Grants Pass, Oregon, including
        homeless individuals who sometimes sleep outside city
        limits to avoid harassment and punishment by Defendant as
        addressed in this lawsuit.”

            After the parties filed cross-motions for summary
        judgment, the district court in July 2020 granted Plaintiffs’
        motion in relevant part and denied the City’s motion. The
        district court held that, under Martin, the City’s enforcement
        of the above-described ordinances violated the Cruel and
        Unusual Punishments Clause. The court further held that,
        for similar reasons, the ordinances imposed excessive fines
        in violation of the Eighth Amendment’s Excessive Fines
        Clause.

            After Plaintiffs voluntarily dismissed those claims as to
        which summary judgment had been denied to both sides, the
        district court entered final judgment declaring that the City’s
        enforcement of the anti-camping and anti-sleeping

                      B. Is issued one or more citations for violating any
                      state law(s) while on City park property.

                 The foregoing exclusion order shall only apply to the
                 particular City park in which the offending conduct
                 under 6.46.350(A) or 6.46.350(B) occurred.

            5
              At the time that the district court certified the class, the operative
        complaint was the Second Amended Complaint. That complaint was
        materially comparable to the Third Amended Complaint, with the
        exception that it did not mention the park-exclusion ordinance or seek
        injunctive relief with respect to it.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 61 of 86




                        JOHNSON V. CITY OF GRANTS PASS                          61

        ordinances (GPMC §§ 5.61.020, 5.61.030, 6.46.090)
        violates “the Eighth Amendment prohibition against cruel
        and unusual punishment” and its “prohibition against
        excessive fines.” Nonetheless, the court’s final injunctive
        relief did not prohibit all enforcement of these provisions.
        Enforcement of § 5.61.020 (the anti-sleeping ordinance) was
        not enjoined at all. The City was enjoined from enforcing
        the anti-camping ordinances (GPMC §§ 5.61.030 and
        6.46.090) “without first giving a person a warning of at least
        24 hours before enforcement.” It was further enjoined from
        enforcing those ordinances, and a related ordinance against
        criminal trespass on city property, in all but one City park
        during specified evening and overnight hours, which varied
        depending upon the time of year. Finally, the City was
        enjoined from enforcing the park-exclusion ordinance.6

            The City timely appealed from that judgment and from
        the district court’s subsequent award of attorneys’ fees.

                                            II

           Before turning to the merits, I first address the question
        of our jurisdiction under Article III of the Constitution.
        Plains Com. Bank v. Long Family Land & Cattle Co.,
        554 U.S. 316, 324 (2008) (holding that courts “bear an
            6
               The district court’s summary judgment order and judgment also
        declared that a separate ordinance (GPMC § 6.46.355), which addressed
        the procedures for appealing park-exclusion orders under § 6.46.350,
        failed to provide sufficient procedural due process. The parties dispute
        whether this claim was adequately raised and reached below, but as the
        majority notes, this claim for purely prospective relief has been mooted
        by the City’s subsequent amendment of § 6.46.355 in a way that removes
        the features that had led to its invalidation. See Opin. at 48. Accordingly,
        this aspect of the district court’s judgment should be vacated and
        remanded with instructions to dismiss as moot Plaintiffs’ challenge to
        § 6.46.355.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 62 of 86




        62           JOHNSON V. CITY OF GRANTS PASS

        independent obligation to assure [them]selves that
        jurisdiction is proper before proceeding to the merits”).

            “In limiting the judicial power to ‘Cases’ and
        ‘Controversies,’ Article III of the Constitution restricts it to
        the traditional role of Anglo-American courts, which is to
        redress or prevent actual or imminently threatened injury to
        persons caused by private or official violation of law.”
        Summers v. Earth Island Inst., 555 U.S. 488, 492 (2009).
        “The doctrine of standing is one of several doctrines that
        reflect this fundamental limitation,” and in the context of a
        request for prospective injunctive or declaratory relief, that
        doctrine requires a plaintiff to “show that he is under threat
        of suffering ‘injury in fact’ that is concrete and
        particularized; the threat must be actual and imminent, not
        conjectural or hypothetical; it must be fairly traceable to the
        challenged action of the defendant; and it must be likely that
        a favorable judicial decision will prevent or redress the
        injury.” Id. at 493. The requirement to show an actual threat
        of imminent injury-in-fact in order to obtain prospective
        relief is a demanding one: the Supreme Court has
        “repeatedly reiterated that threatened injury must be
        certainly impending to constitute injury in fact, and that
        allegations of possible future injury are not sufficient.”
        Clapper v. Amnesty Int’l USA, 568 U.S 398, 409 (2013)
        (simplified).

            As “an indispensable part of the plaintiff’s case,” each of
        these elements of Article III standing “must be supported in
        the same way as any other matter on which the plaintiff bears
        the burden of proof, i.e., with the manner and degree of
        evidence required at the successive stages of the litigation.”
        Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992).
        Because, as in Lujan, this case arises from a grant of
        summary judgment, the question is whether, in seeking
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 63 of 86




                     JOHNSON V. CITY OF GRANTS PASS                   63

        summary judgment, Plaintiffs “‘set forth’ by affidavit or
        other evidence ‘specific facts’” in support of each element
        of standing. Id. (citation omitted). Moreover, “standing is
        not dispensed in gross,” and therefore “a plaintiff must
        demonstrate standing for each claim he seeks to press.”
        DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352–53
        (2006) (emphasis added) (citation omitted).

            Plaintiffs’ operative complaint named three individual
        plaintiffs as class representatives (John Logan, Gloria
        Johnson, and Debra Blake), and we have jurisdiction to
        address the merits of a particular claim if any one of them
        sufficiently established Article III standing as to that claim.
        See Secretary of the Interior v. California, 464 U.S. 312, 319
        n.3 (1984) (“Since the State of California clearly does have
        standing, we need not address the standing of the other
        [plaintiffs], whose position here is identical to the State’s.”);
        see also Bates v. United Parcel Service, Inc., 511 F.3d 974,
        985 (9th Cir. 2007) (en banc) (“In a class action, standing is
        satisfied if at least one named plaintiff meets the
        requirements.”). Accordingly, I address the showing made
        by each named Plaintiff in support of summary judgment.

            In my view, Plaintiff John Logan failed to establish that
        he has standing to challenge any of the ordinances in
        question. In support of his motion for summary judgment,
        Logan submitted a half-page declaration stating, in
        conclusory fashion, that he is “involuntarily homeless in
        Grants Pass,” but that he is “sleeping in [his] truck at night
        at a rest stop North of Grants Pass.” He asserted that he
        “cannot sleep in the City of Grants Pass for fear that [he] will
        be awakened, ticketed, fined, moved along, trespassed[,] and
        charged with Criminal Trespass.” Logan also previously
        submitted two declarations in support of his class
        certification motion. In them, Logan stated that he has been
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 64 of 86




        64           JOHNSON V. CITY OF GRANTS PASS

        homeless in Grants Pass for nearly seven of the last 10 years;
        that there have been occasions in the past in which police in
        Grants Pass have awakened him in his car and instructed him
        to move on; and that he now generally sleeps in his truck
        outside of Grants Pass. Logan has made no showing that,
        over the seven years that he has been homeless, he has ever
        been issued a citation for violating the challenged
        ordinances, nor has he provided any facts to establish either
        that the threat of such a citation is “certainly impending” or
        that “there is a substantial risk” that he may be issued a
        citation. Susan B. Anthony List v. Driehaus, 573 U.S. 149,
        158 (2014) (citation and internal quotation marks omitted).
        At best, his declarations suggest that he would prefer to sleep
        in his truck within the City limits rather than outside them,
        and that he is subjectively deterred from doing so due to the
        City’s ordinances. But such “[a]llegations of a subjective
        ‘chill’ are not an adequate substitute for a claim of specific
        present objective harm or a threat of specific future harm.”
        Laird v. Tatum, 408 U.S. 1, 13–14 (1972). Nor has Logan
        provided any facts that would show that he has any actual
        intention or plans to stay overnight in the City. See Lopez v.
        Candaele, 630 F.3d 775, 787 (9th Cir. 2010) (“[W]e have
        concluded that pre-enforcement plaintiffs who failed to
        allege a concrete intent to violate the challenged law could
        not establish a credible threat of enforcement.”). Even if his
        declarations could be generously construed as asserting an
        intention to stay in the City at some future point, “[s]uch
        ‘some day’ intentions—without any description of concrete
        plans, or indeed even any specification of when the some day
        will be—do not support a finding of the ‘actual or imminent’
        injury that [the Court’s] cases require.” Lujan, 504 U.S.
        at 564; cf. Driehaus, 573 U.S. at 161 (permitting pre-
        enforcement challenge against ordinance regulating
        election-related speech where plaintiffs’ allegations
        identified “specific statements they intend[ed] to make in
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 65 of 86




                     JOHNSON V. CITY OF GRANTS PASS                   65

        future election cycles”). And, contrary to what the majority
        suggests, see Opin. at 24 n.16, Logan’s vaguely described
        knowledge about what has happened to other people cannot
        establish his standing. Accordingly, Logan failed to carry
        his burden to establish standing for the prospective relief he
        seeks.

            By contrast, Plaintiff Gloria Johnson made a sufficient
        showing that she has standing to challenge the general anti-
        camping ordinance, GPMC § 5.61.030, and the parks anti-
        camping ordinance, GPMC § 6.46.090. Although Johnson’s
        earlier declaration in support of class certification stated that
        she “often” sleeps in her van outside the City limits, she also
        stated that she “continue[s] to live without shelter in Grants
        Pass” and that, consequently, “[a]t any time, I could be
        arrested, ticketed, fined, and prosecuted for sleeping outside
        in my van or for covering myself with a blanket to stay
        warm” (emphasis added). Her declaration also recounts
        “dozens of occasions” in which the anti-camping ordinances
        have been enforced against her, either by instructions to
        “move along” or, in one instance, by issuance of a citation
        for violating the parks anti-camping ordinance, GPMC
        § 6.46.090. Because Johnson presented facts showing that
        she continues to violate the anti-camping ordinances and
        that, in light of past enforcement, she faces a credible threat
        of future enforcement, she has standing to challenge those
        ordinances. Lujan, 504 U.S. at 564. Johnson, however,
        presented no facts that would establish standing to challenge
        either the anti-sleeping ordinance (which, unlike the anti-
        camping ordinances, does not apply to sleeping in a vehicle),
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 66 of 86




        66             JOHNSON V. CITY OF GRANTS PASS

        the park-exclusion ordinance, or the criminal trespass
        ordinance.7

            Debra Blake sufficiently established her standing, both
        in connection with the class certification motion and the
        summary judgment motion. Although she was actually
        living in temporary housing at the time she submitted her
        declarations in support of class certification in March and
        June 2019, she explained that that temporary housing would
        soon expire; that she would become homeless in Grants Pass
        again; and that she would therefore again be subject to being
        “arrested, ticketed and prosecuted for sleeping outside or for
        covering myself with a blanket to stay warm.” And, as her

             7
               The majority concludes that Johnson’s standing to challenge the
        anti-camping ordinances necessarily establishes her standing to
        challenge the park-exclusion and criminal-trespass ordinances. See
        Opin. at 24 n.15. But as the district court explained, the undisputed
        evidence concerning Grants Pass’s enforcement policies established that
        “Grants Pass first issues fines for violations and then either issues a
        trespass order or excludes persons from all parks before a person is
        charged with misdemeanor criminal trespass” (emphasis added).
        Although Johnson’s continued intention to sleep in her vehicle in Grants
        Pass gives her standing to challenge the anti-camping ordinances,
        Johnson has wholly failed to plead any facts to show, inter alia, that she
        intends to engage in the further conduct that might expose her to a
        “credible threat” of prosecution under the park-exclusion or criminal
        trespass ordinances. Driehaus, 573 U.S. at 159 (citation omitted).
        Johnson’s declaration states that she has been homeless in Grants Pass
        for three years, but it does not contend that she has ever been issued, or
        threatened with issuance of, a trespass order, a park-exclusion order, or
        a criminal trespass charge or that she has “an intention to engage in a
        course of conduct” that would lead to such an order or charge. Id.
        (citation omitted). Because “standing is not dispensed in gross,” see
        DaimlerChrysler, 547 U.S. at 353 (citation omitted), Johnson must
        separately establish her standing with respect to each ordinance, and she
        has failed to do so with respect to the park-exclusion and criminal-
        trespass ordinances.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 67 of 86




                     JOHNSON V. CITY OF GRANTS PASS                  67

        declaration at summary judgment showed, that is exactly
        what happened: in September 2019, she was cited for
        sleeping in the park in violation of GPMC § 6.46.090,
        convicted, and fined. Her declarations also confirmed that
        Blake’s persistence in sleeping and camping in a variety of
        places in Grants Pass had also resulted in a park-exclusion
        order (which she successfully appealed), and in citations for
        violation of the anti-sleeping ordinance, GPMC § 5.61.020
        (for sleeping in an alley), and for criminal trespass on City
        property. Based on this showing, I conclude that Blake
        established standing to challenge each of the ordinances at
        issue in the district court’s judgment.

             However, Blake subsequently passed away during this
        litigation, as her counsel noted in a letter to this court
        submitted under Federal Rule of Appellate Procedure 43(a).
        Because the only relief she sought was prospective
        declaratory and injunctive relief, Blake’s death moots her
        claims. King v. County of Los Angeles, 885 F.3d 548, 553,
        559 (9th Cir. 2018). And because, as explained earlier,
        Blake was the only named Plaintiff who established standing
        with respect to the anti-sleeping, park-exclusion, and
        criminal trespass ordinances that are the subject of the
        district court’s classwide judgment, her death raises the
        question whether we consequently lack jurisdiction over
        those additional claims. Under Sosna v. Iowa, 419 U.S. 393
        (1975), the answer to that question would appear to be no.
        Blake established her standing at the time that the class was
        certified and, as a result, “[w]hen the District Court certified
        the propriety of the class action, the class of unnamed
        persons described in the certification acquired a legal status
        separate from the interest asserted by [Blake].” Id. at 399.
        “Although the controversy is no longer alive as to [Blake], it
        remains very much alive for the class of persons she [had]
        been certified to represent.” Id. at 401; see also Nielsen v.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 68 of 86




        68              JOHNSON V. CITY OF GRANTS PASS

        Preap, 139 S. Ct. 954, 963 (2019) (finding no mootness
        where “there was at least one named plaintiff with a live
        claim when the class was certified”); Bates v. United Parcel
        Service, Inc., 511 F.3d 974, 987–88 (9th Cir. 2007) (en
        banc).

            There is, however, presently no class representative who
        meets the requirements for representing the certified class
        with respect to the anti-sleeping, park-exclusion, and
        criminal trespass ordinances.8          Although that would
        normally require a remand to permit the possible substitution
        of a new class member, see Kuahulu v. Employers Ins. of
        Wausau, 557 F.2d 1334, 1336–37 (9th Cir. 1977), I see no
        need to do so here, and that remains true even if one assumes
        that the failure to substitute a new class representative might
        otherwise present a potential jurisdictional defect. As noted
        earlier, we have jurisdiction to address all claims concerning
        the two anti-camping ordinances, as to which Johnson has

             8
               Because—in contrast to the named representative in Sosna, who
        had Article III standing at the time of certification—Johnson and Logan
        never had standing to represent the class with respect to the anti-sleeping
        ordinance, they may not represent the class as to such claims. See Sosna,
        419 U.S. at 403 (holding that a previously proper class representative
        whose claims had become moot on appeal could continue to represent
        the class for purposes of that appeal); see also Bates, 511 F.3d at 987
        (emphasizing that the named plaintiff “had standing at the time of
        certification”); B.K. ex rel. Tinsley v. Snyder, 922 F.3d 957, 966 (9th Cir.
        2019) (stating that “class representatives must have Article III
        standing”); cf. NEI Contracting & Eng’g, Inc. v. Hanson Aggregates
        Pac. SW., Inc., 926 F.3d 528, 533 (9th Cir. 2019) (holding that, where
        the named plaintiffs never had standing, the class “must be decertified”).
        The majority correctly concedes this point. See Opin. at 25–26.
        Nonetheless, the majority wrongly allows Johnson and Logan to
        represent the class as to the park-exclusion and criminal-trespass
        ordinances, based on its erroneous conclusion that they established
        standing to challenge those ordinances. See supra at 63–66 & n.7.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 69 of 86




                     JOHNSON V. CITY OF GRANTS PASS                 69

        sufficient standing to represent the certified class. And, as I
        shall explain, the class as to those claims should be
        decertified, and the reasons for that decertification rest on
        cross-cutting grounds that apply equally to all claims. As a
        result, I conclude that we have jurisdiction to order the
        complete decertification of the class as to all claims, without
        the need for a remand to substitute a new class representative
        as to the anti-sleeping, park-exclusion, and criminal trespass
        ordinances. Cf. Steel Co. v. Citizens for a Better Env’t,
        523 U.S. 83, 98 (1998) (holding that, where “a merits issue
        [is] dispositively resolved in a companion case,” that merits
        ruling could be applied to the other companion case without
        the need for a remand to resolve a potential jurisdictional
        issue).

                                     III

             I therefore turn to whether the district court properly
        certified the class under Rule 23 of the Federal Rules of Civil
        Procedure. In my view, the district court relied on erroneous
        legal premises in certifying the class, and it therefore abused
        its discretion in doing so. B.K., 922 F.3d at 965.

                                      A

            “To obtain certification of a plaintiff class under Federal
        Rule of Civil Procedure 23, a plaintiff must satisfy both the
        four     requirements     of    Rule      23(a)—‘numerosity,
        commonality, typicality, and adequate representation’—and
        ‘one of the three requirements listed in Rule 23(b).’” A.B. v.
        Hawaii State Dep’t of Educ., 30 F.4th 828, 834 (9th Cir.
        2022) (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S.
        338, 345, 349 (2011)). Commonality, which is contested
        here, requires a showing that the class members’ claims
        “depend upon a common contention” that is “of such a
        nature that it is capable of classwide resolution—which
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 70 of 86




        70           JOHNSON V. CITY OF GRANTS PASS

        means that determination of its truth or falsity will resolve
        an issue that is central to the validity of each one of the
        claims in one stroke.” Wal-Mart, 564 U.S. at 350. In finding
        that commonality was satisfied with respect to the Eighth
        Amendment claims, the district court relied solely on the
        premise that whether the City’s conduct “violates the Eighth
        Amendment” was a common question that could be resolved
        on a classwide basis. And in finding that Rule 23(b) was
        satisfied here, the district court relied solely on Rule
        23(b)(2), which provides that a “class action may be
        maintained” if “the party opposing the class has acted or
        refused to act on grounds that apply generally to the class, so
        that final injunctive relief or corresponding declaratory relief
        is appropriate respecting the class as a whole.” FED. R. CIV.
        P. 23(b)(2). That requirement was satisfied, the district court
        concluded, because (for reasons similar to those that
        underlay its commonality analysis) the City’s challenged
        enforcement of the ordinances “applies equally to all class
        members.” The district court’s commonality and Rule
        23(b)(2) analyses are both flawed because they are based on
        an incorrect understanding of our decision in Martin.

             As the earlier discussion of Martin makes clear, the
        Eighth Amendment theory adopted in that case requires an
        individualized inquiry in order to assess whether any
        individuals to whom the challenged ordinances are being
        applied “do have access to adequate temporary shelter,
        whether because they have the means to pay for it or because
        it is realistically available to them for free, but who choose
        not to use it.” 920 F.3d at 617 n.8. See supra at 55–57. Only
        when persons “do not have a single place where they can
        lawfully be,” can it be said that an ordinance against sleeping
        or camping in public, “as applied to them, effectively
        punish[es] them for something for which they may not be
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 71 of 86




                       JOHNSON V. CITY OF GRANTS PASS                         71

        convicted under the Eighth Amendment.”                      Id. at 617
        (simplified) (emphasis added).

            Of course, such an individualized inquiry is not
        required—and no Eighth Amendment violation occurs under
        Martin—when the defendant can show that there is adequate
        shelter space to house all homeless persons in the
        jurisdiction. Id. But the converse is not true—the mere fact
        that a city’s shelters are full does not by itself establish,
        without more, that any particular person who is sleeping in
        public does “not have a single place where [he or she] can
        lawfully be.” Id. The logic of Martin, and of the opinions
        in Powell on which it is based, requires an assessment of a
        person’s individual situation before it can be said that the
        Eighth Amendment would be violated by applying a
        particular provision against that person. Indeed, the opinions
        in Powell on which Martin relied—Justice White’s
        concurring opinion and the opinion of the dissenting
        Justices—all agreed that, at most, the Eighth Amendment
        provided a case-specific affirmative defense that would
        require the defendant to provide a “satisfactor[y] showing
        that it was not feasible for him to have made arrangements”
        to avoid the conduct at issue. Powell, 392 U.S. at 552
        (White, J., concurring); id. at 568 n.31 (Fortas, J., dissenting)
        (agreeing with Justice White that the issue is whether the
        defendant “on the occasion in question” had shown that
        avoiding the conduct was “impossible”); see also supra
        at 53.9


            9
              The majority incorrectly contends that the dissenters in Powell did
        not endorse Justice White’s conclusion that the defendant bears the
        burden to establish that his or her conduct was involuntary. See Opin.
        at 42–45. On the contrary, the Powell dissenters’ entire argument rested
        on the affirmative “constitutional defense” presented at the trial in that
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 72 of 86




        72              JOHNSON V. CITY OF GRANTS PASS

            In light of this understanding of Martin, the district court
        clearly erred in finding that the requirement of commonality
        was met here. “What matters to class certification is not the
        raising of common ‘questions’—even in droves—but rather,
        the capacity of a class-wide proceeding to generate common
        answers apt to drive the resolution of the litigation.
        Dissimilarities within the proposed class are what have the
        potential to impede the generation of common answers.”
        Wal-Mart, 564 U.S. at 350 (simplified). Under Martin, the
        answer to the question whether the City’s enforcement of
        each of the anti-camping ordinances violates the Eighth
        Amendment turns on the individual circumstances of each
        person to whom the ordinance is being applied on a given
        occasion. That question is simply not one that can be
        resolved, on a common basis, “in one stroke.” Id. That
        requires decertification.

           For similar reasons, the district court also erred in
        concluding that the requirements of Rule 23(b)(2) were met.
        By its terms, Rule 23(b)(2) is satisfied only if (1) the

        case and on the findings made by the trial court in connection with that
        defense. See 392 U.S. at 558 (Fortas, J., dissenting). The majority’s
        suggestion that I have taken that explicit reference to Powell’s defense
        “out of context,” see Opin. at 42 n.29, is demonstrably wrong—the
        context of the case was precisely the extensive affirmative defense that
        Powell presented at trial, including the testimony of an expert. See id.
        at 517–26 (plurality) (summarizing the testimony). And, of course, in
        Martin, the issue was raised in the context of a § 1983 action in which
        the plaintiffs challenging the laws bore the burden to prove the
        involuntariness of their relevant conduct. The majority points to nothing
        that would plausibly support the view that Powell and Martin might
        require the government to carry the burden to establish voluntariness.
        See Opin. at 44 n.31 (leaving this issue open). The majority claims that
        it can sidestep this issue here, but that is also wrong: the burden issue is
        critical both to the class-certification analysis and to the issue of
        summary judgment on the merits. See infra at 72–82.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 73 of 86




                     JOHNSON V. CITY OF GRANTS PASS                    73

        defendant has acted (or refused to act) on grounds that are
        generally applicable to the class as whole and (2) as a result,
        final classwide or injunctive relief is appropriate. As the
        Supreme Court has observed, “[t]he key to the (b)(2) class is
        ‘the indivisible nature of the injunctive or declaratory
        remedy warranted—the notion that the conduct is such that
        it can be enjoined or declared unlawful only as to all of the
        class members or as to none of them.’” Wal-Mart, 564 U.S.
        at 360. It follows that, when the wrongfulness of the
        challenged conduct with respect to any particular class
        member depends critically upon the individual
        circumstances of that class member, a class action under
        Rule 23(b)(2) is not appropriate. In such a case, in which
        (for example) the challenged enforcement of a particular law
        may be lawful as to some persons and not as to others,
        depending upon their individual circumstances, the all-or-
        nothing determination of wrongfulness that is the foundation
        of a (b)(2) class is absent: in such a case, it is simply not true
        that the defendant’s “conduct is such that it can be enjoined
        or declared unlawful only as to all of the class members or
        as to none of them.’” Id. (emphasis added).

            Because Martin requires an assessment of each person’s
        individual circumstances in order to determine whether
        application of the challenged ordinances violates the Eighth
        Amendment, these standards for the application of Rule
        23(b)(2) were plainly not met in this case. That is, because
        the applicable law governing Plaintiffs’ claims would entail
        “a process through which highly individualized
        determinations of liability and remedy are made,”
        certification of a class under Rule 23(b)(2) is improper.
        Jamie S. v. Milwaukee Pub. Sch., 668 F.3d 481, 499 (7th Cir.
        2012). Moreover, the mere fact that the district court’s final
        judgment imposes sweeping across-the-board injunctive
        relief that disregards individual differences in determining
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 74 of 86




        74              JOHNSON V. CITY OF GRANTS PASS

        the defendant’s liability does not mean that Rule 23(b)(2)
        has been satisfied. The rule requires that any such classwide
        relief be rooted in a determination of classwide liability—
        the defendant must have acted, or be acting, unlawfully “on
        grounds that apply generally to the class, so that final
        injunctive or corresponding declaratory relief is appropriate
        respecting the class as a whole.” FED. R. CIV. P. 23(b)(2)
        (emphasis added). That requirement was not established
        here, and the class must be decertified.10

                                             B

           The majority provides two responses to this analysis, but
        both of them are wrong.

            First, the majority contends that Martin established a
        bright-line rule that “the government cannot prosecute
        homeless people for sleeping in public”—or, presumably,
        for camping—“if there ‘is a greater number of homeless
        individuals in [a jurisdiction] than the number of available’
        shelter spaces.” See Opin. at 13 (quoting Martin, 920 F.3d
        at 617). Because, according to the majority, Martin
        establishes a simple “formula” for determining when all
        enforcement of anti-camping and anti-sleeping ordinances

             10
               The majority wrongly concludes that the City has forfeited any
        argument concerning Rule 23(b)(2) because it did not specifically
        mention that subdivision of the rule in its opening brief. Opin. at 34.
        This “Simon Says” approach to reading briefs is wrong. The substance
        of the argument is contained in the opening brief, in which the City
        explicitly contended that Martin requires “a more individualized
        analysis” than the district court applied and that, as a result, “neither FED.
        R. CIV. P. 23 nor Martin provide plaintiffs the ability to establish the type
        of sweeping class-wide claims advanced in this case.” Indeed, Plaintiffs
        themselves responded to this argument, in their answering brief, by
        explaining why they believe that the requirements of Rule 23(b)(2) were
        met.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 75 of 86




                     JOHNSON V. CITY OF GRANTS PASS                  75

        must cease, it presents a common question that may be
        resolved on a classwide basis. See Opin. at 13; see also
        Opin. at 28–29, 31. As the above analysis makes clear, the
        majority’s premise is incorrect. Martin states that, if there
        are insufficient available beds at shelters, then a jurisdiction
        “cannot prosecute homeless individuals for ‘involuntarily
        sitting, lying, and sleeping in public.’” 920 F.3d at 617
        (emphasis added). The lack of adequate shelter beds thus
        merely eliminates a safe-harbor that might otherwise have
        allowed a jurisdiction to prosecute violations of such
        ordinances without regard to individual circumstances, with
        the result that the jurisdiction’s enforcement power will
        instead depend upon whether the conduct of the individual
        on a particular occasion was “involuntar[y].” Id. Martin
        confirms that the resulting inquiry turns on whether the
        persons in question “do have access to adequate temporary
        shelter, whether because they have the means to pay for it or
        because it is realistically available to them for free, but who
        choose not to use it.” Id. at 617 n.8; see also id. at 617
        (stating that enforcement is barred only if the persons in
        question “do not have a single place where they can lawfully
        be” (citation omitted)). And the majority’s misreading of
        Martin completely disregards the Powell opinions on which
        Martin relied, which make unmistakably clear that an
        individualized showing of involuntariness is required.

            Second, the majority states that, to the extent that Martin
        requires such an individualized showing to establish an
        Eighth Amendment violation, any such individualized issue
        here has been eliminated by the fact that “[p]ursuant to the
        class definition, the class includes only involuntarily
        homeless persons.” See Opin. at 31–33. As the majority
        acknowledges, “[p]ersons are involuntarily homeless” under
        Martin only “if they do not ‘have access to adequate
        temporary shelter,’” such as, for example, when they lack
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 76 of 86




        76            JOHNSON V. CITY OF GRANTS PASS

        “‘the means to pay for it’” and it is otherwise not
        “‘realistically available to them for free.’” Opin. at 8 n.2
        (quoting Martin, 920 F.3d at 617 n.8). Because that
        individualized issue has been shifted into the class
        definition, the majority holds, the City’s enforcement of the
        challenged ordinances against that class can in that sense be
        understood to present a “common question” that can be
        resolved in one stroke. According to the majority, because
        the class definition requires that, at the time the ordinances
        are applied against them, the class members must be
        “involuntarily homeless” in the sense that Martin requires,
        there is a common question as to whether “the City’s
        enforcement of the anti-camping ordinances against all
        involuntarily homeless individuals violates the Eighth
        Amendment.” See Opin. at 31–33 & n.22.

            The majority cites no authority for this audacious
        bootstrap argument. If a person’s individual circumstances
        are such that he or she has no “access to adequate temporary
        shelter”—which necessarily subsumes (among other things)
        the determination that there are no shelter beds available—
        then the entire (highly individualized) question of the City’s
        liability to that person under Martin’s standards has been
        shifted into the class definition. That is wholly improper.
        See Olean Wholesale Grocery Coop. v. Bumble Bee Foods,
        31 F.4th 651, 670 n.14 (9th Cir. 2022) (en banc) (“A court
        may not . . . create a ‘fail safe’ class that is defined to include
        only those individuals who were injured by the allegedly
        unlawful conduct.”); see also Ruiz Torres v. Mercer
        Canyons Inc., 835 F.3d 1125, 1138 n.7 (9th Cir. 2016)
        (stating that it would be improper to define a class in such a
        way “as to preclude membership unless the liability of the
        defendant is established” (simplified)).
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 77 of 86




                        JOHNSON V. CITY OF GRANTS PASS                          77

            The majority nonetheless insists that “[m]embership in
        the class” here “has no connection to the success of the
        underlying claims.” See Opin. at 32 n.23. That is obviously
        false. As I have explained, Martin’s understanding of when
        a person “involuntarily” lacks “access to adequate temporary
        shelter” or to “a single place where [he or she] can lawfully
        be,” see 920 F.3d at 617 & n.8 (citations omitted), requires
        an individualized inquiry into a given person’s
        circumstances at a particular moment. By insisting that a
        common question exists here because Martin’s
        involuntariness standard has been folded into the class
        definition, the majority is unavoidably relying on a fail-safe
        class definition that improperly subsumes this crucial
        individualized merits issue into the class definition. The
        majority’s artifice renders the limitations of Rule 23 largely
        illusory.11

            To the extent that the majority instead suggests that the
        class definition requires only an involuntary lack of access
        to regular or permanent shelter to qualify as “involuntarily

            11
                The majority contends that, despite the presence of a liability-
        determining individualized issue in the class definition, there is no fail-
        safe class here because one or more of the claims might still conceivably
        fail on the merits for other reasons. See Opin. at 32 n.23. But the
        majority does not identify any such other reasons and, of course, under
        the majority’s view of the substantive law, there are none. But more
        importantly, the majority is simply wrong in positing that the only type
        of class that would qualify as an impermissible fail-safe class is one in
        which every conceivable merits issue in the litigation has been folded
        into the class definition. What matters is whether the class definition
        folds within it any bootstrapping merits issue (such as the “injur[y]” issue
        mentioned in Olean) as to which “a class member either wins or, by
        virtue of losing, is defined out of the class and is therefore not bound by
        the judgment.” Olean, 31 F.4th at 670 n.14. To the extent that the central
        individualized merits issue in this case has been folded into the class
        definition, that defect is present here.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 78 of 86




        78           JOHNSON V. CITY OF GRANTS PASS

        homeless,” its argument collapses for a different reason.
        Because Martin’s Eighth Amendment holding applies only
        to those who involuntarily lack “access to adequate
        temporary shelter” on a given occasion, see 920 F.3d at 617
        n.8, such an understanding of the class definition would not
        be sufficient to eliminate the highly individualized inquiry
        into whether a particular person lacked such access at a given
        moment, and the class would then have to be decertified for
        the reasons I have discussed earlier. See supra at 69–74. Put
        simply, the majority cannot have it both ways: either the
        class definition is co-extensive with Martin’s
        involuntariness concept (in which case the class is an
        improper fail-safe class) or the class definition differs from
        the Martin standard (in which case Martin’s individualized
        inquiry requires decertification).

                                     IV

            Given these conclusions as to standing and class
        certification, all that remains are the individual claims of
        Johnson for prospective relief against enforcement of the
        two anti-camping ordinances. In my view, these claims fail
        as a matter of law.

            Johnson’s sole basis for challenging these ordinances is
        that they prohibit her from sleeping in her van within the
        City. In her declaration in support of class certification,
        however, Johnson specifically stated that she has “often”
        been able to sleep in her van by parking outside the City
        limits. In a supplemental declaration in support of summary
        judgment, she affirmed that these facts “remain true,” but
        she added that there had also been occasions in which,
        outside the City limits, county officers had told her to “move
        on” when she “was parked on county roads” and that, when
        she parked “on BLM land”—i.e., land managed by the
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 79 of 86




                       JOHNSON V. CITY OF GRANTS PASS                         79

        federal Bureau of Land Management—she was told that she
        “could only stay on BLM for a few days.”

            As an initial matter, Johnson’s declaration provides no
        non-conclusory basis for finding that she lacks any option
        other than sleeping in her van. Although her declaration
        notes that she worked as a nurse “for decades” and that she
        now collects social security benefits, the declaration simply
        states, without saying anything further about her present
        economic situation, that she “cannot afford housing.” Her
        declaration also says nothing about where she lived before
        she began living “on the street” a few years ago, and it says
        nothing about whether she has any friends or family, in
        Grants Pass or elsewhere, who might be able to provide
        assistance.12 And even assuming that this factual showing
        would be sufficient to permit a trier of fact to find that
        Johnson lacks any realistic option other than sleeping in her
        van, we cannot affirm the district court’s summary judgment
        in Johnson’s favor without holding that her showing was so
        overwhelming that she should prevail as a matter of law.
        Because a reasonable trier of fact could find, in light of these
        evidentiary gaps, that Johnson failed to carry her burden of



            12
                The majority dismisses these questions about the sufficiency of
        Johnson’s evidentiary showing as “artificial limitations” on claims under
        Martin, see Opin. at 44, but the standard for establishing an Eighth
        Amendment violation under Martin and the Powell opinions on which it
        relies is a demanding and individualized one, and we are obligated to
        follow it. Indeed, in upholding Powell’s conviction for public
        drunkenness, the controlling opinion of Justice White probed the details
        of the record as to whether, in light of the fact that Powell “had a home
        and wife,” he could have “made plans while sober to prevent ending up
        in a public place,” and whether, despite his chronic alcoholism, he
        “retained the power to stay off or leave the streets, and simply preferred
        to be there rather than elsewhere.” 392 U.S. at 553.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 80 of 86




        80              JOHNSON V. CITY OF GRANTS PASS

        proof on this preliminary point, summary judgment in her
        favor was improper.13

             But even assuming that Johnson had established that she
        truly has no option other than sleeping in her van, her
        showing is still insufficient to establish an Eighth
        Amendment violation. As noted, Johnson’s sole complaint
        in this case is that, by enforcing the anti-camping ordinances,
        the City will not let her sleep in her van. But the sparse facts
        she has presented fail to establish that she lacks any
        alternative place where she could park her van and sleep in
        it. On the contrary, her factual showing establishes that the
        BLM will let her do so on BLM land for a “few days” at a
        time and that she also has “often” been able to do so on
        county land. Given that Johnson has failed to present
        sufficient evidence to show that she lacks alternatives that
        would allow her to avoid violating the City’s anti-camping
        ordinances, she has not established that the conduct for
        which the City would punish her is involuntary such that,
        under Martin and the Powell opinions on which Martin
        relies, it would violate the Eighth Amendment to enforce that
        prohibition against her.




             13
               The majority errs by instead counting all gaps in the evidentiary
        record against the City, faulting it for what the majority thinks the City
        has failed to “demonstrate[],” See Opin. at 45 & n.32. That is contrary
        to well-settled law. See Celotex Corp. v. Catrett, 477 U.S. 317, 322
        (1986) (holding that a movant’s summary judgment motion should be
        granted “against a [nonmovant] who fails to make a showing sufficient
        to establish the existence of an element essential to that party’s case, and
        on which that party will bear the burden of proof at trial”). The
        majority’s analysis also belies its implausible claim that it has not shifted
        the burden to the City to establish the voluntariness of the behavior
        targeted by the ordinances. See supra at 71 n.9.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 81 of 86




                       JOHNSON V. CITY OF GRANTS PASS                         81

            In nonetheless finding that the anti-camping ordinances’
        prohibition on sleeping in vehicles violates the Eighth
        Amendment, the majority apparently relies on the premise
        that the question of whether an individual has options for
        avoiding violations of the challenged law must be limited to
        alternatives that are within the City limits. Under this view,
        if a large homeless shelter with 1,000 vacant beds were
        opened a block outside the City’s limits, the City would still
        be required by the Eighth Amendment to allow hundreds of
        people to sleep in their vans in the City and, presumably, in
        the City’s public parks as well. Nothing in law or logic
        supports such a conclusion. Martin says that anti-sleeping
        ordinances may be enforced, consistent with the Eighth
        Amendment, so long as there is a “single place where [the
        person] can lawfully be,” 920 F.2d at 617 (emphasis added)
        (citation omitted), and Justice White’s concurrence in
        Powell confirms that the Eighth Amendment does not bar
        enforcement of a law when the defendant has failed to show
        that avoiding the violative conduct is “impossible,” 392 U.S.
        at 551 (emphasis added).14 Nothing in the rationale of this
        Eighth Amendment theory suggests that the inquiry into
        whether it is “impossible” for the defendant to avoid
        violating the law must be artificially constrained to only
        those particular options that suit the defendant’s geographic
        or other preferences. To be sure, Johnson states that having
        to drive outside the City limits costs her money for gas, but
        that does not provide any basis for concluding that the option
        is infeasible or that she has thereby suffered “cruel and
        unusual punishment.”



            14
                The majority complains that this standard is too high, see Opin.
        at 45, but it is the standard applied in Martin and in the Powell opinions
        on which Martin relied.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 82 of 86




        82              JOHNSON V. CITY OF GRANTS PASS

            Finally, because the district court’s reliance on the
        Excessive Fines Clause was predicated on the comparable
        view that the challenged ordinances punish “status and not
        conduct” in violation of Robinson, that ruling was flawed for
        the same reasons. And because Johnson provides no other
        basis for finding an Excessive Fines violation here, her
        claims under that clause also fail as a matter of law.

                                            V

            Accordingly, I would remand this case with instructions
        (1) to dismiss as moot the claims of Debra Blake as well as
        Plaintiffs’ claims with respect to GPMC § 6.46.355; (2) to
        dismiss the claims of John Logan for lack of Article III
        standing; (3) to dismiss the remaining claims of Gloria
        Johnson for lack of Article III standing, except to the extent
        that she challenges the two anti-camping ordinances (GPMC
        §§ 5.61.030, 6.46.090); (4) to decertify the class; and (5) to
        grant summary judgment to the City, and against Johnson,
        with respect to her challenges to the City’s anti-camping
        ordinances under the Eighth Amendment’s Cruel and
        Unusual Punishments Clause and Excessive Fines Clause.
        That disposes of all claims at issue, and I therefore need not
        reach any of the many additional issues discussed and
        decided by the majority’s opinion or raised by the parties.15


            15
               Two of the majority’s expansions of Martin nonetheless warrant
        special mention. First, the majority’s decision goes well beyond Martin
        by holding that the Eighth Amendment precludes enforcement of anti-
        camping ordinances against those who involuntarily lack access to
        temporary shelter, if those ordinances deny such persons the use of
        whatever materials they need “to keep themselves warm and dry.” See
        Opin. at 39. It seems unavoidable that this newly declared right to the
        necessary “materials to keep warm and dry” while sleeping in public
        parks must include the right to use (at least) a tent; it is hard to see how
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 83 of 86




                        JOHNSON V. CITY OF GRANTS PASS                          83

                                            VI

            Up to this point, I have faithfully adhered to Martin and
        its understanding of Powell, as I am obligated to do. See
        Miller v. Gammie, 335 F.3d 889, 899–900 (9th Cir. 2003)
        (en banc). But given the importance of the issues at stake,
        and the gravity of Martin’s errors, I think it appropriate to
        conclude by noting my general agreement with many of the
        points made by my colleagues who dissented from our
        failure to rehear Martin en banc.

            In particular, I agree that, by combining dicta in a
        concurring opinion with a dissent, the panel in Martin
        plainly misapplied Marks’ rule that “[w]hen a fragmented
        Court decides a case and no single rationale explaining the
        result enjoys the assent of five Justices, ‘the holding of the
        Court may be viewed as that position taken by those
        Members who concurred in the judgments on the narrowest

        else one would keep “warm and dry” in a downpour. And the majority
        also raises, and leaves open, the possibility that the City’s prohibition on
        the use of other “items necessary to facilitate sleeping outdoors”—such
        as “stoves,” “fires,” and makeshift “structures”—“may or may not be
        permissible.” See Opin. at 38–39, 47. Second, the majority indirectly
        extends Martin’s holding from the strictly criminal context at issue in
        that case to civil citations and fines. See Opin. at 35–38. As the district
        court noted below, the parties vigorously debated the extent to which a
        “violation” qualifies as a crime under Oregon law. The majority,
        however, sidesteps that issue by instead treating it as irrelevant. The
        majority’s theory is that, even assuming arguendo that violations of the
        anti-camping ordinances are only civil in nature, they are covered by
        Martin because such violations later could lead (after more conduct by
        the defendant) to criminal fines, see Opin. at 38. But the majority does
        not follow the logic of its own theory, because it has not limited its
        holding or remedy to the enforcement of the ultimate criminal
        provisions; on the contrary, the majority has enjoined any relevant
        enforcement of the underlying ordinances that contravenes the
        majority’s understanding of Martin. See Opin. at 49.
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 84 of 86




        84           JOHNSON V. CITY OF GRANTS PASS

        grounds.’” 430 U.S. at 193 (emphasis added) (citation
        omitted). Under a correct application of Marks, the holding
        of Powell is that there is no constitutional obstacle to
        punishing conduct that has not been shown to be involuntary,
        and the converse question of what rule applies when the
        conduct has been shown to be involuntary was left open. See
        Martin, 920 F.3d at 590–93 (M. Smith, J., dissenting from
        denial of rehearing en banc) (explaining that, under a proper
        application of Marks, “‘there is definitely no Supreme Court
        holding’ prohibiting the criminalization of involuntary
        conduct” (citation omitted)).

            Moreover, the correct answer to the question left open in
        Powell was the one provided in Justice Marshall’s plurality
        opinion in that case: there is no federal “constitutional
        doctrine of criminal responsibility.” 392 U.S. at 534. In
        light of the “centuries-long evolution of the collection of
        interlocking and overlapping concepts which the common
        law has utilized to assess the moral accountability of an
        individual for his antisocial deeds,” including the “doctrines
        of actus reus, mens rea, insanity, mistake, justification, and
        duress,” the “process of adjustment” of “the tension between
        the evolving aims of the criminal law and changing religious,
        moral, philosophical, and medical views of the nature of
        man” is a matter that the Constitution leaves within “the
        province of the States” or of Congress. Id. at 535–36.
        “There is simply no indication in the history of the Eighth
        Amendment that the Cruel and Unusual Punishments Clause
        was intended to reach the substantive authority of Congress
        to criminalize acts or status, and certainly not before
        conviction,” and the later incorporation of that clause’s
        protections vis-à-vis the States in the Fourteenth
        Amendment “worked no change in its meaning.” Martin,
        920 F.3d at 602 (Bennett, J., dissenting from denial of
        rehearing en banc); see also id. at 599 (explaining that
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 85 of 86




                    JOHNSON V. CITY OF GRANTS PASS                85

        Martin’s novel holding was inconsistent with the “text,
        tradition, and original public meaning[] [of] the Cruel and
        Unusual Punishments Clause of the Eighth Amendment”).
        Consequently, so long as “the accused has committed some
        act, has engaged in some behavior, which society has an
        interest in preventing, or perhaps in historical common law
        terms, has committed some actus reus,” the Eighth
        Amendment principles applied in Robinson have been
        satisfied. Powell, 392 U.S. at 533 (plurality). The Eighth
        Amendment does not preclude punishing such an act merely
        “because it is, in some sense, ‘involuntary’ or ‘occasioned
        by a compulsion.’” Id.; see also Martin, 920 F.3d at 592 n.3
        (M. Smith, J., dissenting from denial of rehearing en banc)
        (“Powell does not prohibit the criminalization of involuntary
        conduct.”).

            Further, it is hard to deny that Martin has “generate[d]
        dire practical consequences for the hundreds of local
        governments within our jurisdiction, and for the millions of
        people that reside therein.” Id. at 594 (M. Smith, J.,
        dissenting from denial of rehearing en banc). Those harms,
        of course, will be greatly magnified by the egregiously
        flawed reconceptualization and extension of Martin’s
        holding in today’s decision, and by the majority’s equally
        troubling reworking of settled class-action principles. With
        no sense of irony, the majority declares that no such harms
        are demonstrated by the record in this case, even as the
        majority largely endorses an injunction effectively requiring
        Grants Pass to allow the use of its public parks as homeless
        encampments. Other cities in this circuit can be expected to
        suffer a similar fate.

           In view of all of the foregoing, both Martin and today’s
        decision should be overturned or overruled at the earliest
Case: 20-35752, 04/12/2023, ID: 12694169, DktEntry: 98, Page 86 of 86




        86            JOHNSON V. CITY OF GRANTS PASS

        opportunity, either by this court sitting en banc or by the U.S.
        Supreme Court.

                               *       *       *

             I respectfully but emphatically dissent.
